     Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 1 of 57




                                 No. 19-1348C
                                 Judge Lerner


                IN THE UNITED STATES COURT OF FEDERAL CLAIMS



                               PETRINA SMITH,

                                   Plaintiff,
                                      v.

                             THE UNITED STATES,

                                  Defendant.


   DEFENDANT’S RESPONSE IN OPPOSITION TO PLAINTIFF’S RENEWED MOTION
   FOR CONDITIONAL CERTIFICATION AND NOTICE

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               Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 2 of 57




                                                      TABLE OF CONTENTS

Cases                                                                                                                                  Page

DEFENDANT’S RESPONSE IN OPPOSITION TO PLAINTIFF’S RENEWED MOTION FOR
CONDITIONAL CERTIFICATION AND NOTICE ......................................................................... 1
STATEMENT OF THE ISSUES....................................................................................................... 3
STATEMENT OF THE CASE ......................................................................................................... 3
FACTUAL BACKGROUND ........................................................................................................... 4
   I.          DEFENDANT’S MANAGEMENT STRUCTURE AND RETAIL OPERATIONS............. 4
   II.         ACC JOB DESCRIPTION AND TRAINING ..................................................................... 4
   III.        ACC MANAGEMENT DUTIES AND RESPONSIBILITIES ............................................ 5
   IV.         THE TESTIMONY OF DEFENDANT’S 30(B)(6) WITNESS ESTABLISHES THE
               EXISTENCE OF LAWFUL POLICIES ............................................................................. 9
   V.          THE NAMED PLAINTIFF AND HER EVIDENCE......................................................... 10
         A. Plaintiff Petrina Smith....................................................................................................... 11
         B. Declarations Filed By Potential Plaintiffs ........................................................................... 12
   VI.         ACCS TESTIFY REGARDING THE ACC MANAGEMENT ROLE AND
               RESPONSIBILITIES....................................................................................................... 13
   VII.        EXECUTIVE EXEMPTION TO OVERTIME PAY ......................................................... 14
   VIII. MS. SMITH’S DISCOVERY ........................................................................................... 17
   IX.         PROCEDURAL HISTORY ............................................................................................. 18
SUMMARY OF THE ARGUMENT .............................................................................................. 19
ARGUMENT ................................................................................................................................. 22
   I.          MS. SMITH CANNOT ESTABLISH THAT SHE IS “SIMILARLY SITUATED” TO A
               NATIONWIDE Collective ............................................................................................... 22
         A. Legal Standard ................................................................................................................. 23
         B. Ms. Smith Has Failed To Submit Sufficient Evidence Of A Nationwide “Violation Of Law” 25
         C. In The Absence Of A Common “Illegal” Plan Or Policy, Ms. Smith’s Proposed Collective
            Should Be Rejected .......................................................................................................... 38
         D. Judicial Authority Does Not Support Ms. Smith’s Request For A Collective Action ............. 39
   II.         THE FORMS OF NOTICE AND CONSENT PROPOSED BY PLAINTIFF IS IMPROPER
               AND INADEQUATE...................................................................................................... 44
         A. Notice Should Be Limited To The Menlo Park And Palo Alto Canteens .............................. 44
         B. Ms. Smith’s Request For Information Other Than Potential Collective Members’ Last Known
            Addresses Is Overbroad And Unnecessary ......................................................................... 45

                                                                        i
            Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 3 of 57




   III.      Equitable Tolling does not apply........................................................................................ 46
      A. Equitable Tolling Is Unavailable In FLSA Claims Against The Government ....................... 46
      B. Even If Equitable Tolling Could Apply, It Would Not Be Available For Ms. Smith’s FLSA
           Claim .............................................................................................................................. 48
   IV.       THE COURT CORRECTLY STRUCK MS. SMITH’S FILING of notices of consent to join
             fOr POTENTIAL PLAINTIFFS ....................................................................................... 49
CONCLUSION .............................................................................................................................. 50




                                                                       ii
              Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 4 of 57




                                                          TABLE OF AUTHORITIES
Cases                                                                                                                                                          Page

Ahmed v. T.J. Maxx Corp, No. 10-cv-3609 (ADS) (ETB) 2013 WL 2649544 (E.D.N.Y. June 8, 2013) 34

Anderson v. McCarthy, Burges & Wolff, Inc., No. 1:14–CV–617, 2015 WL 224936 (N.D. Ohio Jan. 15,

   2015) ..............................................................................................................................................................22

Bacon v. Eaton Aeroquip, LLC, No. 11–cv–14103, 2012 WL 6567603 (E.D. Mich. Dec. 17, 2012) ......22

Barry v. United States, 117 Fed. Cl. 518 (2014) .............................................................................................43

Berg v. United States, 49 Fed. Cl. 459 (2001) ................................................................................................15

Bowman v. Crossmark, Inc., No. 09–cv–16, 2010 WL 2837519 (E.D. Tenn. July 19, 2010) ...................22

Brice v. Sec’y of the Dep’t of Health and Human Servs., 240 F.3d 1367 (Fed. Cir. 2001) ........................48

Brown v. Barnes & Noble, Inc. (“Brown I”), 252 F. Supp. 3d 255 (S.D.N.Y. 2017)..................................43

Brown v. Barnes & Noble, Inc. (“Brown II”), No. 16-CV-7333 (RA) (KHP), 2018 WL 3105068,

   (S.D.N.Y. June 25, 2018) ...................................................................................................................... 16, 24

Carhuapoma v. N.Y.-Presbyterian Healthcare Sys., Inc., No. 11-cv-8670 (JPO) (RLE), 2013 WL

   1285295 (S.D.N.Y. Mar. 29, 2013) .............................................................................................................16

Cooke v. General Dynamics Corp., 993 F.Supp. 56 (D. Conn. 1997) ..........................................................20

Cox v. Entm't U.S.A. of Cleveland, Inc., No. 1:13 CV 2656, 2014 WL 4302535 (N.D. Ohio Aug. 29,

   2014) ..............................................................................................................................................................21

Crawley v. United States, 145 Fed. Cl. 446 ....................................................................................................48

Dalheim v. KDFW–TV, 918 F.2d 1220 (5th Cir. 1990)................................................................................20

Diaz v. Elecs. Boutique of Am., Inc., No. 04-CV-0840E(SR), 2005 WL 2654270 (W.D.N.Y. Oct. 17,

   2005) ..............................................................................................................................................................20

Doe No. 1 v. United States, 143 Fed. Cl. 113, 116 (2019).............................................................................43

Donovan v. Burger King, 675 F.2d 516 (2d. Cir. 1982) .................................................................... 21, 30-31

                                                                                  iii
              Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 5 of 57




Doyle v. United States, 20 Cl. Ct. 495 (1990).......................................................................................... 47, 48

Eng-Hatcher v. Sprint Nextel, Corp., 07-cv-7350 (BSJ)2009 U.S. Dist. LEXIS 127262 (S.D.N.Y. Nov.

   13, 2009) ........................................................................................................................................................45

Gayle v. United States, 85 Fed. Cl. 72 (2008).................................................................................... 23, 24, 25

Gonyer v. Vane Line Bunkering, Inc., 32 F. Supp. 3d 514 (S.D.N.Y. 2014) ...............................................48

Guillen v. Marshalls of MA, Inc., 750 F. Supp. 2d 469 (S.D.N.Y. 2010) ....................................................34

Heitzenrater v. Officemax, Inc., No. 12-CV-900S, 2014 WL 448502 (W.D.N.Y. Feb. 4, 2014) ..............44

Hoffman-LaRoche v. Sperling, 493 U.S. 165 (1989)........................................................................ 38, 45, 49

Holt v. Rite Aid Corp., 33 F.Supp. 2d 1265 (M.D. Ala. 2004)......................................................................28

In Re Food Lion, Inc., 151 F.3d 1029 (4th Cir. 1998) .....................................................................................21

Indergit v. Rite Aid Crop, No. 08 Civ. 9361 (PGG), 08 Civ. 11364 (PGG), 2010 U.S. Dist. LEXIS 60202

   (S.D.N.Y. June 15, 2010) .............................................................................................................................35

Jibowu v. Target Corporation, 492 F. Supp. 3d 87 (E.D.N.Y. 2020)............................................... 33, 34, 44

John R. Sand & Gravel Co. v. United States, 552 U.S. 130 (2008) ..............................................................47

Jones v. United States, 88 Fed. Cl. 789 (2009) ...............................................................................................46

Jungkunz v. Schaeffer’s Inv. Research Inc., No. 11-cv-00691 2014 WL 1302553 (S.D. Ohio Mar 31,

   2014) ..............................................................................................................................................................21

Kirkendall v. Dep’t of Army, 479 F.3d 830 (Fed. Cir. 2007) ........................................................................47

Korenblum v. Citigroup, Inc., 195 F. Supp. 3d 475 (S.D.N.Y. 2016).................................................... 24, 43

Lin v. Everyday Beauty Amore Inc., No. 18-CV-729 (BMC), 2018 WL 6492741 (E.D.N.Y. Dec. 10,

   2018) ..............................................................................................................................................................33

Martin v. United States, No. 13-CV-834C (PSC), 2015 WL 12791601, at *3 (Fed. Cl. Oct. 15, 2015) ...48




                                                                                  iv
              Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 6 of 57




Mason v. Lumber Liquidators, Inc., No. 17-CV-4780 (MKB) (RLM), 2019 WL 2088609 (E.D.N.Y.

   May 13, 2019) ...............................................................................................................................................43

McDermott v. Fed. Sav. Bank, 14-cv-6657 (JMA) (GRB) 2018 WL 1865916 (E.D.N.Y. Apr. 18, 2018)

   ........................................................................................................................................................................43

Meo v. Lane Bryant, Inc., No. 18-CV-6360 (JMA) (AKT), 2019 WL 5157024 (E.D.N.Y. Sept. 30, 2019)

   ........................................................................................................................................................................33

Meyer v. Panera Bread, 344 F. Supp. 3d 193 (D.D.C. 2018) ................................................................. 41, 42

Mike v. Safeco Ins. Co. of Am., 274 F. Supp. 2d 216 (D. Conn. 2003) ................................................ 25, 28

Murray v. Stuckey’s Inc., 939 F.2d 614 (8th Cir. 1991)..................................................................................26

Neff v. U.S. Xpress, Inc., No. 10–cv–948, 2013 WL 4479078 (S.D. Ohio Aug. 20, 2013) .......................22

Pacheco v. Boar's Head Provisions Co., Inc., 671 F.Supp. 2d 957 (W.D. Mich. 2009) ..............................22

Pendlebury v. Starbucks Coffee Co., 2005 WL 84500 (S.D. Fla. Jan. 3, 2005)...........................................41

Saleen v. Waste Mgmt., Inc., 649 F. Supp. 2d 937 (D. Minn. 2009) ............................................................26

Scott v. SSP Am. Inc., 2011 WL 1204406 (E.D.N.Y. Mar 29, 2011) ..........................................................31

Servertson v. Phillips Beverage Co., 137 F.R.D. 264 (D. Minn. 1991) ........................................................38

Sharma v. Burberry Ltd., 52 F. Supp. 3d 443 (E.D.N.Y. 2014) ....................................................................33

Sheffield v. Onus Corp., 211 F.R.D. 411 (D. Ore. 2002)...............................................................................39

Smith v. Heartland Auto. Servs., Inc., 404 F. Supp. 2d 1144 (D. Minn. 2005)............................................26

Smith v. United States, 156 Fed. Cl. 471 (2021).................................................................................... passim

Soriano v. United States, 352 U.S. 270 (1957) ...............................................................................................46

Stevens v. HMSHost Corp., No. 10-CV-3571 (ILG) (VVP), 2021 WL 13098466 (E.D.N.Y. June 15,

   2012) ....................................................................................................................................................... 25, 42

Thomas v. Speedway SuperAmerica, LLC, 506 F.3d 496 (6th Cir. 2007) ...................................................30



                                                                                    v
               Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 7 of 57




United States v. Brockamp, 519 U.S. 347 (1997).................................................................................... 47, 48

United States v. Sherwood, 312 U.S. 584 (1941) ...........................................................................................46

Valte v. United States, 155 Fed. Cl. 561 (2021)................................................................................. 24, 36, 45

Velazquez v. Costco Wholesale Corp. 603 F. App'x 854 (9th Cir. 2015) ....................................................36

Waggoner v. U.S. Bancorp, 110 F. Supp. 3d 759 (N.D. Ohio 2015) ..................................................... 38, 39

Whalen v. United States, 85 Fed. Cl. 380 (2009)............................................................................................25

Statutes

29 U.S.C. § 204(f) .............................................................................................................................................14

Regulations

5 C.F.R. § 541.104 ............................................................................................................................................14

29 C.F.R. § 541 .................................................................................................................................................15

29 C.F.R. § 541.100(a)(3).................................................................................................................................17

29 C.F.R. § 541.100(a)(4).................................................................................................................................17

29 C.F.R. § 541.102 ..........................................................................................................................................20

29 C.F.R § 551.104 .................................................................................................................. 15, 16, 26, 31, 36

29 C.F.R.§ 541.105 .........................................................................................................................................217

29 C.F.R. § 541.106(a)............................................................................................................................... 17, 29

29 C.F.R. § 541.106(b) ........................................................................................................................ 16, 21, 29

29 C.F.R. § 541.700(a)......................................................................................................................................15

29 C.F.R. § 541.700(b) .....................................................................................................................................16

29 C.F.R. § 541.700(c)......................................................................................................................... 16, 21, 29

 69 Fed. Reg. 22122 (Apr. 23, 2004) ................................................................................................................16



                                                                               vi
          Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 8 of 57




                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
____________________________________
PETRINA SMITH,                       )
                                     )
             Plaintiff,              )
                                     )
             v.                      )             No. 19-1348C
                                     )             Judge Lerner
UNITED STATES OF AMERICA             )
                                     )
             Defendant.              )
                                     )

DEFENDANT’S RESPONSE IN OPPOSITION TO PLAINTIFF’S RENEWED MOTION FOR
               CONDITIONAL CERTIFICATION AND NOTICE

        Defendant, the United States, respectfully submits this opposition to plaintiff’s renewed motion

for conditional certification and notice (Pl. Mot.). ECF No. 55. We oppose conditional certification of a

collective action to join plaintiffs who are “Assistant Chiefs employed Veterans Canteen Services (VCS)

throughout the United States . . . .” Pl. Mot. at. 5. In her renewed motion, Ms. Smith cannot meet her

burden of demonstrating that she is similarly situated to other Assistant Canteen Chiefs (ACC) with

respect to a uniform policy that violates the Fair Labor Standards Act. Ms. Smith still cannot identify a

common unlawful policy that rendered the Assistant Canteen Chief position non-exempt. Rather, her

renewed motion focuses on many of the same generalized anecdotes about ACCs performing customer

service and other allegedly non-managerial tasks, without any reference to a uniform policy that required

them to perform those other tasks as primary duties, thereby rendering them misclassified.

        Indeed, as with Ms. Smith’s prior motion, she has failed to put forth evidence that demonstrates

that she and the purported collective of all Assistant Canteen Chiefs were subject to a common policy or

plan by the VCS that violated the law. Instead, Ms. Smith relies upon her declaration and the declarations

of 12 additional declarants. The declarations, however, contain conclusory statements about only the

declarant’s individual personal experiences in performing some functions that might usually be

                                                     1
          Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 9 of 57




performed by non-exempt employees, while ignoring the other management duties in the job description

that they performed on a daily basis. See ECF No. 25-3 (Petrina Smith Declaration (Pl. Decl.) p. 1-4,

Richard Bartoni Declaration (Bartoni Decl.), ECF No. 55-1 at 68, ¶ 3; Mildred Cannary Declaration

(Cannary Decl.), ECF No. 55-1 at 72, ¶ 3; Cherise Carter Declaration (Carter Decl.), ECF No. 55-1 at 75,

¶¶ 4-5; Stacy S. Conn Declaration (Conn. Decl.), ECF No. 55-1 at 78, ¶ 3; Kurt Davis Declaration (Davis

Decl.), ECF No. 55-1 at 82, ¶¶3, 5; Han Do Declaration (Do Decl.), ECF No. 55-1 at 84, ¶ 3; Jeanette M.

Little Declaration (Little Decl.), ECF No. 55-1 at 88, ¶ 3; Lourdes Quintero Declaration (Quintero Decl.),

ECF No. 55-1 at 92, ¶ 3; Tonya White Declaration (White Decl.) ECF No. 55-1 at 100, ¶¶ 3-4; Susan

Cacciagrani Declaration (Cacciagrani Decl.), Id. at 70, ¶ 3; Joanna Cooper Declaration (Cooper Decl.),

ECF No. 55-1 at 80, ¶ 3; William McCague Declaration (McCague Decl.), ECF No. 55-1 at 90, ¶ 4;

William B. Webb, Jr. Declaration (Webb, Jr. Decl.) ECF No. 55-1 at 97, ¶¶ 3-4, 10.

        Moreover, the ACC job description, ECF No. 25-1 (ACC position description (ACC PD) p. 99-

104; the deposition of defendant’s FRCP 30(b)(6) witness Joseph Tober (Tober Dep.), ECF 25-1; the

declaration testimony of nine ACCs and the Chief Executive Officer, ECF 26-1, Exhibits (Ex.) 1-10;

along with Ms. Smith’s performance evaluation (Pl. Perf. Eval), ECF 26-1, Exhibit 11; together

demonstrate that Ms. Smith fails to demonstrate that VCS had a uniform policy that violated the FLSA.

        We also oppose the forms of notice proposed by Ms. Smith because the request for nationwide

contact information is unwarranted. And we oppose Ms. Smith’s request to toll the statute of limitations

for declarants to join this action because tolling is not available, and if it were, Ms. Smith fails to present

any facts that would justify the tolling of the statute of limitations in this case. As with Ms. Smith’s prior

motion, we do not oppose the conditional certification of a collective action to join additional consenting

plaintiffs who, at any time within three years prior to the date that they file with the Court their consent to

join the action, were employed as ACCs at the Palo Alto, California, and Menlo Park, California



                                                       2
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 10 of 57




Canteens. We also reserve the right to request to decertify any conditionally certified collective and to

dismiss any joined party.

                                    STATEMENT OF THE ISSUES

            1. Whether Ms. Smith has shown that all ACCs were subject to a nationwide de facto illegal
               policy of misclassifying them as FLSA-exempt.

            2. Whether the Court should grant conditional certification of a collective in the absence of
               adequate evidence that ACCs are similarly situated.

            3. Whether the Court should toll the statute of limitations for potential plaintiffs.

            4. Whether the Court correctly struck potential plaintiffs’ consent to join forms because they
               were not employed at the Palo Alto/Menlo Park canteen within three years prior to the
               filing of Ms. Smith’s complaint on September 4, 2019

                                     STATEMENT OF THE CASE

        Ms. Smith was formerly employed by VCS as an Assistant Canteen Chief at the Palo Alto and

Menlo Park, California Canteens. On September 4, 2019, Ms. Smith filed this action claiming that she

worked more than 40 hours per week and is entitled to FLSA overtime compensation. On June 4, 2021,

Ms. Smith filed a motion for conditional certification of a collective comprising all ACCs employed by

defendant by VCS within three years before she and collective action members file their consents to sue

until present. ECF No. 25 at 5. On October 15, 2021, the Court denied Ms. Smith’s motion because (1)

of the “idiosyncratic nature of an ACC’s job duties would require this Court to analyze the individual

experiences of up to 600 employees at the decertification stage and Ms. Smith’s case did not fit the

“Court’s definition of efficient”; and (2) equitable tolling of the statute would not be appropriate because

Ms. Smith did not file a defective pleading during the statutory period, she was not induced or tricked by

the defendant into allowing the deadline to pass, and did not suffer an injury that was inherently

unknowable at the time the cause of action accrued. Smith v. United States, 156 Fed. Cl. 471 (2021).

        On December 22, 2021, March 29, 2022, March 31, 2022, April 1, 20221, and April 5, 2022, Ms.

Smith filed notice of filing plaintiff consent forms that were stricken by the Court on April 5, 2022

                                                      3
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 11 of 57




because (1) the plaintiffs that sought to join the aciton were not employed at the Palo Alto/Menlo Park,

California canteen as specified in the Court approved notice, and (2) the filings failed to comply with

RCFC Appendix E, paragraph 19. ECF No. 51. On April 22, 2022, Ms. Smith filed the current motion,

her renewed motion to conditionally certify a collective and approve notice.

                                     FACTUAL BACKGROUND

I.      DEFENDANT’S MANAGEMENT STRUCTURE AND RETAIL OPERATIONS

        VCS operates 211 Canteens in all 50 states and Puerto Rico. James G. Leahy Declaration (Leahy

Decl.), ECF No. 26, Ex. 1, ¶ 21. Canteens ranked at levels one through five contain retail, café, and

coffee operations. Id. at ¶ 9. Canteens ranked at levels six and seven may have a very limited retail, café,

and/or coffee operation. Id. VCS divides the country into regions and employs corporate staff to support

operations. Id. at ¶ 8. VCS maintains 14 regions. Id. at ¶ 7. Each region comprises between 10 to 20

Canteens. In each region, a regional manager supports the CC (canteen chief) and ACCs. Id. at ¶¶ 8-9.

Finally, each Canteen employs, depending upon a variety of operational factors, up to six ACCs. Taylor

Paino Declaration (Paino Decl.), ECF No. 26, Ex. 2, ¶ 7.

II.     ACC JOB DESCRIPTION AND TRAINING

        VCS maintains job descriptions for ACCs, which establish general guidelines regarding the

managerial responsibilities that ACCs are expected to perform as their primary duty. Id. at ¶ 15; ACC PD

p. 99-102. VCS employs ACCs who report to the CC. Leahy Decl., ECF No. 26, Ex. 1 ¶ 11. To clarify

store management expectations, VCS creates guidelines that outline the duties of ACCs. ECF 25-1, Ex.

6, ACC PD p. 99-104; Leahy Decl. Id., ¶ 16. ACCs “[m]anage[] the day-to-day operation of the retail

store incorporating industry business practices, and internal operating procedures, standards, and policies

of retail operations[.]” Id. Upon entry on duty, ACCs learn how VCS stores operate and receive

guidance concerning management expectations. Id. at ¶ 17. During each ACC’s performance review

they are evaluated on their leadership and management skills, and by how they have contributed to the
                                                     4
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 12 of 57




success of the Canteen’s operations. Id. at ¶ 20; Plaintiff’s Progress Review February 1, 2015, to January

31, 2016 (Progress Review), Ex. 11.

III.    ACC MANAGEMENT DUTIES AND RESPONSIBILITIES

        Typically, Canteens will have as many as zero to six ACCs depending on the size and volume of

the store. Paino Decl., ECF No. 26, Ex. 2, ¶ 7; Cheryl Barrett Declaration (Barrett Decl.), ECF No. 26,

Ex. 3, ¶ 8; Zenna Reed Declaration (Reed Decl.), ECF No. 26, Ex. 4, ¶ 8. Reporting directly to the ACCs

are hourly lead and non-lead employees. Patrina Smith Employee Evaluation February 1, 2017, to

January 31, 2018 (Smith Sup. Eval.), ECF No. 26, Ex. 10; Leahy Decl., Ex. 1, at ¶ 13; Paino Decl., ECF

No. 26., Ex. 2, ¶ 7, Barrett Decl., ECF No. 26, Ex. 3, ¶ 8; Reed Decl., ECF No. 26, Ex. 4, ¶ 8. There are

different types of hourly employees within the Canteens including cooks, retail, coffee, and vending

employees. Id. ACCs are responsible for evaluating the performance of the hourly lead and non-lead

employees. Smith Sup. Eval., ECF No. 26, Ex. 10; Leahy Decl., ECF No. 26, Ex. 1, at ¶ 19; Mark

Antczak Declaration (Antczak Decl.), ECF No. 26, Ex. 5, ¶ 29; Cassie Darnell Declaration (Darnell

Decl.), ECF No. 26, Ex. 6, ¶¶ 29, 32.

        VCS expects all ACCs to manage their respective departments and hourly lead and non-lead

employees as their primary duty. ACC PD, ECF No. 25-1, Ex. 6, p. 99-102; Leahy Decl., ECF No. 26,

Ex. 1, at ¶ 18; Mark Weaver Declaration (Weaver Decl.), ECF No. 26, Ex.7, ¶ 11; Seana R. Donovan

Declaration (Donovan Decl.), ECF No. 26, Ex. 9, ¶ 11. Those managerial functions include all of the

duties conventionally associated with managing a team of employees, such as recruiting, interviewing and

training new employees, and making recommendations regarding hiring, discipline and termination,

planning and directing the work of hourly lead and non-lead employees, scheduling their hours of work,

handling employee complaints, grievances, apportioning work, controlling the flow of merchandise,

monitoring compliance with agency policy and procedures and legal compliance measures. ACC PD



                                                    5
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 13 of 57




ECF No. 25-1, Ex. 6, p. 99-102; Leahy Decl., ECF No. 26, Ex. 1, ¶ 18; Weaver Decl., ECF No. 26, Ex. 7,

¶¶ 10-42.

        Depending on their assigned role within each store, ACCs have varying responsibilities. ACC

PD ECF No. 25-1, Ex. 6, p. 99-101; Leahy Decl. ECF 26, Ex. 1, ¶ 22; Paino Decl., ECF No. 26, Ex. 1, ¶

7 (two ACCs supervise café; one ACC supervises retail; one ACC supervises coffee; one ACC

supervises administrative; and one ACC supervises receiving operations); Barrett Decl., ECF No. 26, Ex.

3, ¶ 10 (one ACC supervises retail, café, and administrative operations); Tashina Spaulding Declaration

(Spaulding Decl.), ECF No. 26, Ex. 8, at 1 (two ACCs supervise the food and vending operations and the

CC supervises the retail employees and operations). Some ACCs are tasked with monitoring operational

tasks, such as hourly lead and non-lead employee hiring, associate scheduling, and human resources.

ACC PD ECF No. 25-1, Ex. 6, p. 102; Leahy Decl., ECF 26, Ex. 1, ¶ 22; Donovan Decl., ECF No. 26,

Ex. 9, ¶ 23 (ACCs oversee all hiring at the Canteen); Paino Decl., ECF No. 26, Ex. 2, ¶ 24 (ACCs and

CCs oversee hiring). Some ACCs are responsible for overseeing certain departments including retail,

food, or coffee operations. Leahy Decl., ECF No. 26, Ex. 1, ¶ 22; Weaver Decl., ECF No. 26, Ex. 7, ¶ 10

(ACC primarily responsible for administrative operations); Darnell Decl., ECF No. 26, Ex. 1, ¶ 10 (ACC

responsible primarily for café). Some ACCs are responsible for multiple departments, for example, retail,

food, or coffee operations, at the same time. Pl. Motion 25-1, Ex. 8, p. 99-101; Leahy Decl., ECF No. 26,

Ex. 1, ¶ 22; Antczak Decl., ECF No. 26, Ex. 5, ¶ 8 (two ACCs supervise all food, retail, coffee, and

administrative operations); Barrett Decl., ECF No. 26, Ex. 3, ¶ 10 (ACC responsible for retail, café,

vending, and administrative operations). Each Canteen has distinct needs with regard to hourly employee

supervision, merchandise presentation, and customer service. Leahy Decl., ECF No. 26, Ex. 1, ¶ 25.

        ACCs supervise varying numbers of hourly employees depending on their particular

circumstances. For example, Taylor Paino, a Coffee Operations ACC in Minneapolis, MN, supervises



                                                     6
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 14 of 57




one hourly lead and five to seven hourly employees; while the Food ACC had 20-25 direct reports, and

the Retail ACC had 10-15 direct reports. Paino Decl., ECF No. 26, Ex. 2, ¶ 7. ACCs Cheryl Barrett and

Zenna Reed supervise six and 27 employees, respectively. Barrett Decl., ECF No. 26, Ex. 3, ¶ 7; Reed

Decl., ECF No. 26, Ex. 4, ¶ 7. The number of assigned hourly employees directly affects an ACC’s

workload and responsibilities because the more hourly employees an ACC supervises, the more time they

must spend on directing work, training, evaluating, coaching, and counseling. Leahy Decl., ECF No. 26,

Ex. 1, ¶ 23.

        An ACC’s duties will also vary based on the store in which they work. Unlike other retailers,

VCS does not employ cookie cutter designs and its Canteens are in many ways different from one

another. ECF No. 26, ¶ 21. Also, unlike other retailers, VCS relies upon its ACCs to act independently

after considering Canteen specific factors to customize the selection and display of merchandise, food,

and coffee in such a way as to maximize the sale of goods to meet the customer traffic and purchasing

patterns of their Canteens. Id.

        In addition, the Canteens vary dramatically across the country in a variety of significant ways that

directly affect operations, including the following:

               •   Store Volume: Annual sales volume of VCS Canteens varies dramatically. Some
                   Canteens have sales volumes below $100,000 while other Canteens exceed $3,000,000.

               •   Head Count: The number of hourly lead and non-lead employees varies dramatically
                   depending on the size and sales volume of the Canteen at issue. Some Canteens have as
                   few as two hourly leads and non-lead employees, while other locations can have as many
                   as 50 lead and non-lead employees.

               •   Store Location: Canteens vary dramatically in their location. Some are in large city
                   medical centers, while others are in very small rural locations.

               •   Size of Canteen: Canteens vary in size. Some have a maximum selling square footage
                   which is less than 800 square feet while some locations can be more than 7,400 square
                   feet.



                                                       7
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 15 of 57




            •    Entrance and Point of Sale: Some Canteens have more than one entrance and many
                 times more than one location for point of sale.

Leahy Decl., ECF No. 26, Ex. 1, at ¶ 21. Although ACCs work one shift per day, generally most

Canteens have a first shift that begins at 6:30 am until 2:30 pm with a second shift lasting from 2:30 pm

until 6:00 pm.1 Also, the sales volume of each Canteen significantly affects how a Canteen operates, thus

affecting an ACC’s daily routine. Sales volume dictates the number of hourly employees per store; the

greater a Canteen’s revenue, the higher the Canteen’s labor budget and the more lead and non-lead

employee hours are available. Id. at ¶ 25. Thus, two canteens that have similar square footage, can have

different levels of hourly employees. Id. For example, the Milwaukee, Wisconsin, Canteen with a 3,400

square foot sales floor, generates annual revenue of approximately $2,500,000 with approximately 17

hourly employees, while the San Antonio, TX Canteen, with a 2,900 square foot sales floor, generates

approximately $7,220,320 with 31 hourly employees. Antczak Decl., Ex. 26., Ex. 5, ¶¶ 6-7; Reed Decl.,

Ex. 26., Ex. 4, ¶¶ 6-7.

        Moreover, busier Canteens with higher customer traffic and sales volume require more customer

service and inventory deliveries, which affect the amount of time ACCs spend supervising the delivery of

customer service and the activities of hourly employees in process and moving merchandise, food, and

coffee to customers. As a result, depending upon the respective Canteen, and the respective ACC

assignment, an ACC can spend a lot or very little time overseeing the hourly lead and non-lead employee

who in turn oversees the delivery and processing of new merchandise. Leahy Decl., ECF No. 26, Ex. 1,




 1
   The Minneapolis, MN Canteen has an opening shift from at 6:00 am until 2:30 pm, Paino Decl., ECF
No. 26, Ex. 2, ¶ 12; with the closing shift of 8:00 am through 4:30 pm Monday through Friday. ECF No.
26 at ¶ 21. The Fort Wayne, IN Canteen has an opening shift from at 7:30 am until 4:00 pm, Barrett
Decl., ECF No. 26, Ex. 3, ¶ 12; with the ACC closing the canteen at 4:30 pm Monday through Friday.
ECF No. 26 at ¶ 20. The San Antonio, TX Canteen has an opening shift from at 6:00 am until 3:00 pm,
Reed Decl., ECF No. 26, Ex. 4, ¶ 12; with the closing shift of 11:00 am through 7:30 pm Monday
through Friday. ECF No. 26 at ¶ 22.
                                                     8
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 16 of 57




at ¶ 26. Finally, and most importantly, the personality and management style of the CC affects ACC

responsibilities because each CC is empowered to supervise his/her Canteen in a unique fashion. Thus,

the result is that some Canteen mangers delegate more tasks to ACCs than others. Id. at ¶ 27.

IV.     THE TESTIMONY OF DEFENDANT’S 30(B)(6) WITNESS ESTABLISHES THE
        EXISTENCE OF LAWFUL POLICIES

        Defendant’s 30(b)(6) witnesses testified that–consistent with the lawful polices considered by the

Court in the Original Motion–defendant expects ACCs to engage in managerial duties as their primary

duty. Indeed, ACCs have significant managerial authority, including, but not limited to (1) leading and

managing non-exempt employees, Ex. Tober Dep. 37:1-8; Ex. 3 at DOJ046; (2) backfill for non-exempt

employees during staff shortfalls, Tober Dep. 37:10-38:2; Ex. 3 at DOJ046-DOJ047; (3) directing the

stocking of merchandise, Tober Dep. 39:10-40:04; Ex. 3 at DOJ048-DOJ049; (4) verify monetary deposit

transactions, Tober Dep. 72:19-73:17; Ex. 3 at DOJ050-DOJ051; (5) conduct end of the month inventory

and complete consolidated inventory summary form, Tober Dep. 82:1-83:4; 85:1-86.7; DOJ052-

DOJ056; (6) overseeing the use of promotional funds, Tober 87:1-14; DOJ057; (7) supervising a variable

amount of customer transactions, Tober Dep. 93:21-94:9; DOJ058-DOJ059 (8) oversight of the financial

budgets for coffee, food, and retail, Tober Dep. 117:12-30; DOJ061; (9) contributes to the establishment

of yearly goals involving the attainment of gross margin, revenue, net operating income, and minimizing

operational expenses, Tober Dep. Id.; (10) directing staff charged with protecting and securing assets to

include merchandise, Tober Dep. 118:1-6; DOJ062; (11) serving on national boards and committees to

provide input on programs and strategies, Tober Dep. 118:7-13; Id.; (12) overseeing finances and staffing

levels that affect customer service and internal security, Tober Dep. 134:9-21; DOJ063; (13) recruit non-

exempt employees, Tober Dep. 159:21-160:1; (14) supervise direct reports, Tober Dep. 156:1-158:14;

DOJ064-DOJ066; and (15) instructing non-exempt employees as to where merchandise should be placed

on the sales floor, Tober Dep. 156:22-157:7; DOJ064-DOJ065.

                                                     9
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 17 of 57




        Notably, Ms. Smith’s and the declarants’ allegations of performing allegedly non-managerial

tasks as their primary duty, are not supported by the testimony of the corporate witness who addressed the

applicable policies, procedures, and corporate expectations that apply to ACCs. The corporate witness

testified that ACCs are always managers, but also perform tasks that are the primary duties of non-exempt

employees as needed. See e.g. Tober 37:1-8; DOJ046. (“Q. Do assistant chiefs work alongside hourly

non-exempt employees?” “A. I'm not sure what you mean by work alongside them. They work with

them. They lead them. They direct them. They delegate duties and responsibilities and the distribution to

work. They train them. They assist them where assistance may be needed but -- if that's what you

mean.”); Tober 37:15-38:2; DOJ046-DOJ047 (“Q: In the event of a staffing shortfall, is it possible that

assistant chiefs would perform those duties? A: Yeah. I would think that in the event of a significant

staffing shortfall, that's possible. In the event of a national emergency where we're [] having people stay

overnight to cook for the veterans and staff, that's possible. Even I have cooked. In terms of a reoccurring

duty, no. I can tell you assistant managers make a heck of a lot of money. I'm not going to pay them 60-,

$70,000 a year to flip hamburgers.”); Tober Dep 96:7-12; DOJ060; (“[T]he canteen chief held overall

responsibility for their operation. If a canteen chief fails to meet the grading criteria for their specific

[canteen] they are subject to a demotion[.] That will not affect the canteen chief -- the assistant chief. The

motivation for the canteen chief (CC), who is overall responsible for all of it, is to make sure that our

assistant managers are executing their managerial and operational duties to ensure they meet financial and

budgetary requirements for their respective area.”)

V.      THE NAMED PLAINTIFF AND HER EVIDENCE

        Ms. Smith’s additional evidence cited in support of her motion consists of declarations from 12

additional ACCs. Plaintiff’s Motion (Pl. Mot.) ECF No. 55-1. Rather than support a different result, this




                                                       10
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 18 of 57




evidence demonstrates that defendant’s polices are lawful and that Ms. Smith and the potential plaintiffs

are not similarly situated to one another, let alone a nationwide collective.

        A. Plaintiff Petrina Smith

        Ms. Smith accepted employment as an ACC in September 2012 and concluded her employment

in February 2019. Plaintiff’s Declaration (Pl. Decl.) ECF No. 25-3 ¶ 2. Ms. Smith worked in the Palo

Alto and Menlo Park, California Canteens.2 Id. She was supervised by Maggie Baker, Kenny Ung,

Kimberly Adams, and Jerica Simpson during her employment with VCS. Plaintiff’s Complaint (Pl.

Compl.) ECF No. 1 ¶ 29. The Canteen employed other ACCs who were supervised by the CC as well.

Pl. Decl. ECF No. 25-3 ¶ 4.

        Consistent with the VCS ACC job description, Ms. Smith understood that she was responsible

for “operating the cash register, customer service at the counter”, merchandising and the sales floor. Id. at

¶ 3. During February 2015 until early November 2015, Ms. Smith was responsible for all food and retail

operations at the Palo Alto Canteen. Plaintiff’s Progress Review (Pl. Progress Review), ECF No. 26, Ex.

11 at 104. While at the Palo Alto Canteen, Ms. Smith (1) reduced shrinkage loss by $5,700, (2) increased

sales by 10.5 percent, and (3) increased net operating income to a positive 1.2 percent in 2015 from a

negative 3.9 percent in 2014. Id. From early November 2015 until January 31, 2016, Ms. Smith’s was

responsible for all operations of the Menlo Park Canteen, which resulted in (1) an increase of $242,000 in

net operating income over expectation, and (2) total sales of $4,000,000 compared to $379,000 the

previous fiscal year. Id.

        Despite Ms. Smith’s understanding of her responsibilities, she challenges her exempt status based

upon her feeling that she “spent approximately ninety percent of [her] time performing . . . manual tasks

and provide services to canteen customers.” Pl. Decl. ECF No. 25-3 ¶ 3. Although “employed . . . as an


 2
   The Palo Alto and Menlo Park Canteens are considered one Canteen. Pl. Progress Review, ECF No.
26, Ex. 11.
                                                      11
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 19 of 57




Assistant Chief” she claims that she spent only “approximat[ly] one to two hours per day on managerial

tasks.” Id. at ¶¶ 2-3. Ms. Smith blames her assignment of “performing manual, day-to-day tasks

necessary to provide the canteen’s food and retail products and services to their customers” for keeping

her from accomplishing what she wanted to do as a manger. Id. at ¶ 7. Ms. Smith alleges that “during the

course of [her] employment” she complained to her CCs and regional managers that she was performing

non-managerial tasks, but nothing was done about her issue. Id. at ¶ 8. Ms. Smith alleges that she was

not performing her duties as an ACC because of the way the CC manager ran the Canteen; “[m]ultiple

managers told [her] that they worked long hours when they were an [ACC] and that it was expected by

[CCs] and Regional Managers.” Id.

        B. Declarations Filed By Potential Plaintiffs

        Ms. Smith’s motion also attaches templated affidavits from eight former ACCs and four current

employees. Each of the affidavits offer the same arguments in support of their claim that they were

improperly considered exempt managerial employees during their tenure as ACCs. Although they

understood that they were primarily responsible for supervising associates and store operations, they

claim that their CCs or staffing shortages, or both, prevented them from exercising these duties. ECF No.

55-1 at 68, Bartoni Decl., ¶ 3; ECF No. 55-1 at 73, Cannary Decl., ¶ 3; Carter Decl., ECF No. 55-1 at 75,

¶¶ 4-5; Conn. Decl., ECF No. 55-1 at 78, ¶ 3; Davis Decl., ECF No. 55-1 at 82, ¶¶ 3, 5; Do Decl., ECF

No. 55-1 at 84, ¶ 3; Little Decl., ECF No. 55-1 at 88, ¶ 3; Quintero Decl., ECF No. 55-1 at 92, ¶ 3; White

Decl. ECF No. 55-1 at 100, ¶¶ 3-4; Cacciagrani Decl., ECF No. 55-1 at 70, ¶ 3; Cooper Decl., ECF No.

55-1 at 80, ¶ 3; McCague Decl., ECF No. 55-1 at 90, ¶ 4; Webb, Jr. Decl. ECF No. 55-1 at 97, ¶¶ 3-4, 10.

Likewise, each of the declarants assert that they spent between 20 percent to 30 percent of their work day

conducting management activities while performing cooking, cash register, and cleaning/sanitation

activities, among other responsibilities, at different times throughout the work day. Id. Also, each of the

declarants assert that they routinely work more than 40 hours per week and do not receive “overtime”
                                                    12
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 20 of 57




pay. Bartoni Decl., ECF No. 55-1 at 69, ¶ 6; Cacciagrani Decl., Ex. _ ¶ 5; Cannary Decl., ECF No. 55-1

at 70-71, ¶¶ 5-6; Carter Decl., ECF No. 55-1 at 76, ¶¶ 6-8; Conn Decl., ECF No. 55-1 at 79, ¶¶ 5, 7;

Cooper Decl., ECF No. 55-1 at 81, ¶ 8; Davis Decl., ECF No. 55-1 at 82, ¶ 5; Do Decl., ECF No. 55-1 at

84, ¶ 5; Little Decl., ECF No. 55-1 at 88, ¶ 5; McCague Decl., ECF No. 55-1 at 91, ¶¶ 6-8; Quintero

Decl., ECF No. 55-1 at 93, ¶¶ 6, 9; Webb Jr. Decl., ECF No. 55-1 at 98, ¶¶ 5, 7; White Decl., ECF No.

55-1 at 101, ¶¶ 6, 9.

        Finally, several declarants participated in various managerial-specific activities including (1)

participating in the hiring process, Cannary Decl. ¶ 7; (2) participating in national call meetings,

Quintero Decl. , ¶8; (3) managing all operational concepts and participate in national call meetings, Webb

Decl. at ¶¶ 4, 8; (4) training teams on food safety/sanitation, help navigate the Canteen through the rigors

of the pandemic, have financial operating success, assisting with the change of the layout of the canteen,

mitigate losses and control operational costs, William McCague Performance Review, Ex. 1 at DOJ002,

DOJ010, DOJ016; and (5) providing leadership and resolving employee problems, Kurt Davis

Performance Review, Ex. 2, DOJ039-DOJ040.

VI.     ACCS TESTIFY REGARDING THE ACC MANAGEMENT ROLE AND
        RESPONSIBILITIES

        Notwithstanding Ms. Smith’s declaration asserting that she and a few other ACCs did not

perform managerial functions as a majority of their workday, ACCs from across the country have

testified that they regularly engage in a host of managerial functions as described by the ACC position

description, and with the permission of an individual CC: (1) recruiting and hiring (Paino Decl., ECF 26,

¶ 24; Reed Decl., ECF 26, Ex. 4, ¶ 25); (2) scheduling (Antczak Decl., ECF 26, Ex. 5, ¶¶ 18-21; Darnell

Decl., ECF 26, Ex. 6, ¶¶ 18-21); (3) evaluation of employees (Weaver Decl., ECF 26, Ex. 7, ¶¶ 29-33;

Donovan Decl., ECF 26, Ex. 9, ¶¶ 26-30); (4) employee discipline (Paino Decl., ECF 26, Ex. 2, ¶¶ 33-34;

Barrett Decl., ECF 26, Ex. 3, ¶¶ 31-32; (5) training (Barrett Decl., ECF 26, Ex. 3, ¶¶ 31-32; Reed Decl.,

                                                     13
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 21 of 57




ECF 26, Ex. 4, ¶¶ 26-28; (6) Tracking Canteen Performance (Paino Decl., ECF 26, Ex. 2, ¶¶ 37-40;

Weaver Decl., ECF 26, Ex. 7, ¶¶ 38-40; and (7) directing the completion of tasks that are the primary

duties of non-management employees (Paino Decl., ECF 26, Ex. 2, ¶¶ 44-46 (60 percent of day directing

hourly employees; 25 percent of day doing hands-on activities; 15 percent executing other managerial

duties); Barrett Decl., ECF 26, Ex. 3, ¶¶ 42-44 (25 percent of day directing hourly employees; 75 percent

of day executing other managerial duties); Reed Decl., ECF 26, Ex. 4, ¶¶ 45-47 (80-90 percent of day

directing hourly employees; remainder of day executing other managerial duties); Antczak Decl., ECF

26, Ex. 5, ¶¶ 45-47 (80-90 percent of day directing hourly employees; remainder of day executing other

managerial duties); Weaver Decl., ECF 26, Ex. 7, ¶¶ 38-40 (80-90 percent of day directing hourly

employees; remainder of day executing other managerial duties); Spaulding Decl., ECF 26, Ex. 8, at 4

(spends 10 to 15 minutes per day assisting with the cash register; remainder of day executing managerial

duties); Donovan Decl., ECF 26, Ex. 9, ¶¶ 43-47 (80-90 percent of day directing hourly employees;

remainder of day executing other managerial duties).

VII.    EXECUTIVE EXEMPTION TO OVERTIME PAY

        The Office of Personnel Management promulgates regulations to implement the FLSA as applied

to Federal employees. 29 U.S.C. § 204(f). Pursuant to the implementing regulations, “an employee

whose primary duty is management” is exempt from the FLSA’s overtime requirements. 5 C.F.R. §

551.205(a) Under this regulations, an employee is exempt if (1) the employee’s primary duty is

management of the enterprise, including, but not limited to, the employee customarily and regularly

directing the work of two or more other employees; and (2) the employee has the authority to hire or fire

other employees or whose suggestions and recommendations as to the hiring, firing, advancement,

promotion or any other change of status of other employees are given particular weight. Id.




                                                   14
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 22 of 57




        The second factor of the FLSA executive exemption test requires that an employee's “primary

duty” be “management.” Id.. The OPM regulations define “primary duty” as a “duty that constitutes the

major part (over 50 percent) of an employee’s work.” 5 C.F.R. § 541.104. Further,

             a duty constituting less than 50 percent of an employee's work (alternative
             primary duty) may be credited as the primary duty for exemption purposes
             provided that duty: (1) constitutes a substantial, regular part of the work
             assigned and performed; (2) is the reason for the existence of the position; and
             (3) is clearly exempt work in terms of the basic nature of the work, the
             frequency with which the employee must exercise discretion and independent
             judgment as discussed in § 551.206, and the significance of the decisions made.

5 C.F.R. § 551.104. To aid in that analysis, the regulations provide a non-exhaustive list of activities that

constitute “management”:

             activities such as interviewing, selecting, and training of employees; setting and
             adjusting their rates of pay and hours of work; directing the work of employees;
             maintaining production or sales records for use in supervision or control;
             appraising employees’ productivity and efficiency for the purpose of
             recommending promotions or other changes in status; handling employee
             complaints and grievances; disciplining employees; planning the work;
             determining the techniques to be used; apportioning the work among the
             employees; determining the type of materials, supplies, machinery, equipment
             or tools to be used or merchandise to be bought, stocked and sold; controlling
             the flow and distribution of materials or merchandise and supplies; providing
             for the safety and security of the employees or the property; planning and
             controlling the budget; and monitoring or implementing legal compliance
             measures.

Id. In determining whether an employee's primary duty is management, the regulations also explain that

courts should consider factors including, but not limited to,

             the relative importance of the exempt duties as compared with other types of
             duties; the amount of time spent performing exempt work; the employee's
             relative freedom from direct supervision; and the relationship between the
             employee's salary and the wages paid to other employees for the kind of
             nonexempt work performed by the employee.

Id. § 541.700(a); see also Mullins v. City of New York, 653 F.3d 104, 107 (2d Cir. 2011) (an analogous

case interpreting the Department of Labor regulations definition of “primary duty. Although the amount

of time that an employee spends performing managerial work does not alone determine whether such

                                                     15
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 23 of 57




work is their primary duty, see Paganas v. Total Maint. Sol., LLC, 726 F. App'x 851, 853–54 (2d Cir.

2018) (summary order), the Second Circuit interpreted that the Department of Labor FLSA executive

exemption applies to “employees who spend more than 50 percent of their time performing exempt work

will generally satisfy the primary duty requirement.”

        Furthermore, “[e]mployees who do not spend more than 50 percent of their time performing

exempt duties may nonetheless meet the primary duty requirement if the other factors support such a

conclusion.” 29 C.F.R. § 541.700(b); § 551.104; see Berg v. United States, 49 Fed. Cl. 459, n.3 (2001);

see also Carhuapoma v. N.Y.-Presbyterian Healthcare Sys., Inc., No. 11-cv-8670 (JPO) (RLE), 2013 WL

1285295, at *9 (S.D.N.Y. Mar. 29, 2013) (recognizing that, under analogous DOL regulations, exempt

executives have discretion in deciding when to perform non-managerial duties).

        Because the Office of Personnel Management regulations do not have a specific reference to the

managerial responsibilities of an assistant manager, we look to the Department of Labor regulations for

guidance. Specifically, the DOL regulations specifically address the exempt classification of “assistant

managers in a retail establishment,” who “may have management as their primary duty even if [they]

spend more than 50 percent of the time performing nonexempt work such as running the cash register[]”

and nonetheless be properly classified as exempt. 29 C.F.R. § 541.700(c); 29 C.F.R. § 541.106(b) (“An

assistant manager can supervise employees and serve customers at the same time without losing the

exemption.”); see also 69 Fed. Reg. 22122 (Apr. 23, 2004) (codified at 29 C.F.R. § 541) (discussing the

exempt status of assistant mangers in the retail context who spend the majority of their time on

nonexempt work); Brown v. Barnes & Noble, Inc. (“Brown II”), No. 16-cv-7333 (RA) (KHP), 2018 WL

3105068, at *10 (S.D.N.Y. June 25, 2018) (“generally, exempt executives make the decision regarding

when to perform non-exempt duties and the success or failure of the business operations under their

management while performing non-exempt work”) When an employee performs concurrent duties,



                                                    16
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 24 of 57




“[w]hether an employee meets the requirements” of the exemption is determined on a case-by-case basis.

29 C.F.R. § 541.106(a).

        Under the third requirement of the executive exemption test, an employer must establish that the

employee “customarily and regularly direct[ed] the work of two or more other employees.” 29 C.F.R. §

541.100(a)(3). The fourth requirement of the executive exemption test addresses whether an employee

“has the authority to hire or fire other employees or whose suggestions and recommendations as to the

hiring, firing, advancement, promotion or any other change of status of other employees are given

particular weight.” 29 C.F.R. § 541.100(a)(4). In evaluating this requirement, the DOL regulations

suggest that a court consider:

             whether it is part of the employee's job duties to make such suggestions and
             recommendations; the frequency with which such suggestions and
             recommendations are made or requested; and the frequency with which the
             employee's suggestions and recommendations are relied upon. An employee's
             suggestions and recommendations may still be deemed to have “particular
             weight” even if a higher level manager's recommendation has more importance
             and even if the employee does not have authority to make the ultimate decision
             as to the employee's change in status.

29 C.F.R. § 541.105.

VIII.   MS. SMITH’S DISCOVERY

        After Ms. Smith filed her complaint on September 4, 2019, the parties engaged in extensive

discovery. Defendant produced more than 4,600 documents, including all VCS operational policies,

daily and hourly time and attendance documents for 71 ACCs for a three-year time frame, and employee

personnel documents in response to Ms. Smith’s propounding of 25 interrogatories and 37 requests for

production. Additionally, defendant produced for deposition the recently retired former chief executive

officer of the VCS as a Rule 30(b)(6) witness, and the VCS’s former labor and employment director. The

depositions lasted more than 9 hours and included topics involving employee classification, ACC job

descriptions, the variation of ACC job duties at individual Canteens, and operational policies.


                                                    17
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 25 of 57




IX.     PROCEDURAL HISTORY

        On September 4, 2019, Ms. Smith filed this action, alleging on behalf of herself and a putative

collective of hundreds of ACCs nationwide, that defendant misclassified ACCs as exempt and

erroneously denied FLSA overtime compensation. See Smith v. United States, 19-cv-1348, ECF No. 1.

On June 4, 2021, after engaging in pre-conditional certification discovery and with no outstanding

discovery issues between the parties, Ms. Smith moved to conditionally certify a collective action,

pursuant to Section 216(b) of the FLSA, consisting of all ACCs employed with the VCS during the

preceding three years. Id.

        In opposition to Ms. Smith’s certification motion, defendant submitted a contrasting record,

including declarations from currently serving ACCs, and the chief executive officer of the VCS, who had

a very different view of the duties and responsibilities of ACCs. See ECF No. 26, Exs. 1-9. Based upon

the testimony and declarations submitted by plaintiff, there was no basis to infer that defendant

implemented a nationwide policy or practice that resulted in wage and hour violations by “requiring”

ACCs to primarily engage in non-managerial work, notwithstanding the corporate policies, training

materials, evaluation tools, and job descriptions which contemplated managerial responsibilities. Id.

        In deciding Ms. Smith’s motion, the Court found that, although conditional certification requires

a “minimal showing”, Ms. Smith failed to show that she was similarly situated to all other ACCs with

respect to the claim that she was required to perform non-managerial job duties in contravention of the

formal job description. Smith v. United States, 19-cv-134, Memorandum Opinion (Mem. Op.) at 12, ECF

No. 33. Likewise, the Court denied Ms. Smith’s request for equitable tolling of the statute of limitations

because she was not “tricked by defendant’s misconduct”, the case did not suffer from defective pleading,

nor did she suffer an injury that was inherently unknowable at the time the cause of action accrued. Id. at

21-22. Additionally, the Court concluded that in conditionally certifying the collective in the Palo



                                                    18
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 26 of 57




Alto/Menlo Park, California Canteen that Ms. Smith had not shown that telephone numbers and last

known email addresses were necessary to provide adequate notice to potential collective action members

because she had not shown why using last known mailing addresses was insufficient. Id. at 19-20. After

due consideration, the court denied Ms. Smith’s motion without prejudice. Id. at 23.

        Despite no change in the case, other than the inclusion of 12 additional declarations that do not

adequately explain the complexities of the ACC position or establish that all ACCs perform similar work,

Ms. Smith again requests the Court to conditionally certify a nationwide collective of ACCs, excluding

Palo Alto/Menlo Park, California, without identifying any policy requiring the performance of non-

managerial tasks as a primary duty.

                                  SUMMARY OF THE ARGUMENT

        Despite having conducted extensive discovery in this matter, Ms. Smith has fallen well-short of

meeting her burden for conditional certification. On the strength of 12 affidavits and a memorandum

focused solely on the “modest” standard for collective action certifications, Ms. Smith requests

extraordinary relief that would dramatically transform the scope and burden associated with this wage and

hour dispute. Alleging “nationwide canteen operating policies and procedures”, Pl. Mot. at 13; Ms.

Smith, and the other declarants, claim to be “similarly situated” to other ACCs employed in more than

211 Canteens across 50 states and Puerto Rico. Id. at 15-19. After Ms. Smith’s deposition of defendant’s

30(b)(6) witness and labor and employment manager, and a close review of defendant’s policies,

including the ACC job description, the evidentiary record is clear: Ms. Smith does not base her statutory

claim on VCS’s “nationwide Canteen operating policies and procedures” at all, but rather on the

individualized tasking of ACCs by individual CCs. Pl. Mot. at 12-13.

        Specifically, Ms. Smith alleges that, despite defendant’s “nationwide” policies and procedures,

she and the other declarants spent approximately 70 percent to 90 percent of their time performing



                                                    19
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 27 of 57




“manual tasks” as directed by individual CCs. Pl. Decl. ECF 25-3, ¶3 (emphasis added); Bartoni Decl.,

ECF 55-1 at 69, ¶ 7; Cannary Decl., ECF 55-1 at 72, ¶ 3; Carter Decl., ECF 55-1 at 76, ¶¶ 5; Conn. Decl.,

ECF 55-1 at 78, ¶ 3; Davis Decl., ECF 55-1 at 82, ¶ 3; Do Decl., ECF 55-1 at 84, ¶ 3; Little Decl., ECF

55-1 at 88, ¶ 3; Quintero Decl., ECF 55-1 at 92, ¶ 3; White Decl. ECF 55-1 at 100, ¶ 3; Cacciagrani Decl.,

ECF 55-1 at 70, ¶ 3; Cooper Decl., ECF 55-1 at 80, ¶ 3; McCague Decl., ECF 55-1 at 90, ¶ 4; Webb, Jr.

Decl. ECF 55-1 at 97, ¶ 3. In other words, although VCS’s policies and procedures expressly

contemplate an exclusively managerial role for ACCs, Ms. Smith argues that individual canteen chiefs

directed her and the declarants to perform such supervisory functions in conjunction with performing

tasks that are the primary duty of non-managerial staff on a canteen-by-canteen basis. Thus, there is no

uniform unlawful policy to tie together a nationwide collective of ACCs.

        Ms. Smith’s invitation for this Court to consider the individual circumstances of a small

percentage of ACCs also underscores the fundamental flaw in her request to certify a national collective.

The Court should decline Ms. Smith’s invitation because her proposed approach would inevitably result

in individualized inquiries involving the unique circumstances of other ACCs. Federal courts interpreting

the United States Department of Labor regulations, which are non-binding to VCS ACCs, have

concluded that “[d]etermining whether an employee is exempt is extremely individual and fact-intensive,

requiring ‘a detailed analysis of the time spent performing administrative duties' and ‘a careful factual

analysis of the full range of the employee's job duties and responsibilities.” Diaz v. Elecs. Boutique of

Am., Inc., No. 04-cv-0840E(SR), 2005 WL 2654270, at *2 (W.D.N.Y. Oct. 17, 2005); see 29 C.F.R. §

541.102; see Cooke v. General Dynamics Corp., 993 F.Supp. 56, 59 (D. Conn. 1997) (“Under the short

test, the employee's ‘primary duty’ will usually be what he or she does that is of principal value to the

employer, not the collateral tasks that he or she may also perform, even if they consume more than 50%

of his or her time.”) (citing Dalheim v. KDFW–TV, 918 F.2d 1220, 1227 (5th Cir. 1990).



                                                     20
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 28 of 57




        Specifically in the retail sector, DOL has recognized in regulations that assistant managers may

spend more than 50 percent of their time performing nonexempt work, such as running a register, and

nonetheless be properly classified as exempt. See 29 C.F.R. § 541.700(c), § 541.106(b). Thus, courts

generally certify collective actions addressing the exempt status of retail assistant managers only when

there is concrete evidence that assistant manager duties are consistent from store to store. In Re Food

Lion, Inc., 151 F.3d 1029 (4th Cir. 1998)

        The gravamen of Ms. Smith’s argument is that when there is a corporate management structure

that applies to all regions of the country, any single employee may plausibly assert that employees

throughout the country are similarly situated with respect to that employee’s day-to-day job activities

even if those job activities contravene the company’s stated requirements. This is not so. Providing

information that VCS employed nationwide standardized policies and procedures and an identical

hierarchical management structure has no bearing as to whether other ACCs were required to spend a

majority of their time performing non-exempt tasks. See Donovan v. Burger King, 675 F.2d 516, 521-22

(2d. Cir. 1982)

             We fully recognize that the economic genius of the Burger King enterprise lies
             in providing uniform products and service economically in many different
             locations and that adherence by Assistant Managers to a remarkably detailed
             routine is critical to commercial success . . . but judgments must still be made.
             In the competitive, low margin circumstances of this business, the wrong
             number of employees, too many or too few supplies on hand, delays in service,
             the preparation of food which must be thrown away, or an under directed or
             under supervised work force all can make the difference between commercial
             success and failure.

Id. In this light, with respect to the extensive discovery completed in this case, the “modest plus” should

apply when determining whether this case is “appropriate” for treatment as a collective action. See,

e.g., Cox v. Entm't U.S.A. of Cleveland, Inc., No. 13-cv-2656, 2014 WL 4302535, at *2 (N.D. Ohio Aug.

29, 2014) (plaintiff had three months to conduct discovery); Jungkunz v. Schaeffer's Inv. Rsch., Inc., No.

11-cv-00691, 2014 WL 1302553, at *7 (S.D. Ohio Mar. 31, 2014) (parties had agreement to limit initial
                                                     21
          Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 29 of 57




discovery to issue of similarly situated collective); Anderson v. McCarthy, Burges & Wolff, Inc., No. 14–

cv–617, 2015 WL 224936, at *4 (N.D. Ohio Jan. 15, 2015) (“Plaintiff had a substantial period of time to

conduct discovery on the issue of conditional certification.”); Neff v. U.S. Xpress, Inc., No. 10–cv–948,

2013 WL 4479078, at *4 (S.D. Ohio Aug. 20, 2013) (parties were “provided the opportunity to conduct

discovery on the issue of class certification”); Bacon v. Eaton Aeroquip, LLC, No. 11–cv–14103, 2012

WL 6567603, *3 (E.D. Mich. Dec. 17, 2012) (“Plaintiffs have engaged in at least four months of

discovery.”); Bowman v. Crossmark, Inc., No. 09–cv–16, 2010 WL 2837519, at *4 (E.D. Tenn. July 19,

2010) (parties engaged in “considerable discovery directed toward conditional certification”); Pacheco v.

Boar's Head Provisions Co., Inc., 671 F.Supp.2d 957, 960 (W.D. Mich. 2009) (limited discovery

“focused solely on the issue of certification”).

          Accordingly, Ms. Smith has fallen well short of meeting her burden to support her request for

conditional certification of a broad nationwide collective. In the absence of any evidence beyond 12

anecdotal declarations regarding individual work experiences at an extremely small percentage of

operating Canteens, Ms. Smith has failed to meet her burden of proof, and thus her motion should be

denied.

                                                   ARGUMENT

I. MS. SMITH CANNOT ESTABLISH THAT SHE IS “SIMILARLY SITUATED” TO A
   NATIONWIDE COLLECTIVE

          Ms. Smith’s attempt to identify agency policies that list the CC as the final authority for

individual canteen operations does nothing to show that ACCs do not manage operations and staff as a

primary duty. Each of the declarants acknowledge that they conduct management activities on a daily

basis. Indeed, each declarant states that they conducted management activities for ten percent to thirty

percent of their workday, and to the extent that those experiences differed from the alleged experiences of

other declarants, the testimony reveals that the differences are attributable to the individual circumstances


                                                       22
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 30 of 57




of working in different canteens with different Canteen Chiefs, not an agency-wide policy. Because Ms.

Smith and the other declarants are not similarly situated with regard to a common unlawful policy, the

Court should recognize the absence of a broader collective of similarly situated ACCs and decline to

conditionally certify the action.

        A. Legal Standard

        An employee may bring suit against his employer pursuant to the Fair Labor Standards Act

(FLSA) “for and in behalf of himself . . . and other employees similarly situated.” 29 U.S.C. § 216(b).

The FLSA does not specify a procedure for joinder of “similarly situated” plaintiffs. See Gayle v. United

States, 85 Fed. Cl. 72, 77 (2008). However, most courts use a two-step approach. Id. The first step

requires the original plaintiff to make a modest factual showing sufficient to demonstrate that she and

potential plaintiffs together were victims of a common policy or plan that violated the law. Id. Plaintiffs

can satisfy that evidentiary burden by showing that the pleadings, affidavits, and other available evidence

support the conclusion that potential collective members are similarly situated. Id.3

        If a plaintiff can satisfy the first step, the Court may conditionally certify a collective action and

authorize notice to be sent to potentially similarly situated plaintiffs. Id. The second step occurs after the

close of discovery. The defendant may move to decertify the collective action based on evidence

developed during discovery. Id. If defendant requests decertification, the Court must determine whether

the original plaintiff(s) and the plaintiffs who have consented to join the action in response to having




3
 The only purpose for conditionally certifying a collective is to authorize sending court-approved notice
to notify potentially similarly situated plaintiffs of the opportunity to join the action. Otherwise,
recognizing the potential existence of a collective is meaningless because any FLSA action with more
than one plaintiff is a collective action. If plaintiff does not desire to send court-approved notice to other
potential plaintiffs, certifying the action as a collective is unnecessary and will not be requested.

                                                      23
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 31 of 57




received notice are sufficiently similarly situated to allow some or all of those plaintiffs who have joined

in response to the notice to remain in the action. Id.4

        A “modest factual showing” requires a plaintiff “and potential plaintiffs together [to show that

they] were victims of a common policy or plan that violates the law.” Gayle, 85 Fed. Cl. at 77; see

Korenblum v. Citigroup, Inc., 195 F. Supp. 3d 475, 479-480 (S.D.N.Y. 2016) (a modest factual showing

requires “a shared unlawful policy; that is, while the proposed collective need not be ‘identical in every

possible respect,’ its potential members must be similarly situated with respect to the allegedly unlawful

policy or practice.”) Step one is intended to determine “whether to send court-approved notice to absent

individuals who appear to be similarly situated to [] plaintiff[].” Valte v. United States, 155 Fed. Cl. 561,

567 (2021).

        In determining whether plaintiffs are “similarly situated” to members of a proposed collective, a

plaintiff has to show “some identifiable factual or legal nexus [that] binds together the various claims of

[potential opt-in plaintiffs] in a way that hearing claims together promotes judicial efficiency and

comports with the broad remedial policies underlying the FLSA.” Smith v. United States, 156 Fed. Cl. at

479-80 (2021); see Brown II, 2018 WL 3105068, at *6 (“Courts generally require ‘that there be a factual

nexus between the claims of the named plaintiff and those who have chosen [or might potentially choose]

to opt into the action.”) (citations omitted).

        Rather than rely on reasonable inferences, plaintiffs must provide actual evidence of a factual

nexus between their situation and the persons they claim are similarly situated. Gayle, 85 Fed. Cl. at 79.

When a defendant has a common national policy, the sworn statements of additional plaintiffs throughout

the country can be sufficient to establish this “factual nexus” for the purposes of conditionally certifying a




4
  If defendant does not request to decertify the collective, no further action is necessary; the case proceeds
as an FLSA collective action simply because more than one plaintiff has consented to join the action.
                                                      24
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 32 of 57




nationwide collective matter. See Stevens v. HMSHost Corp., No. 10-cv-3571 (ILG) (VVP), 2021 WL

13098466, at *5 (E.D.N.Y. June 15, 2012).

        Also, when plaintiff seeks conditional certification for alleged misclassification claims based on

the actual tasks that were assigned at the worksite and not that the job description was unlawful, they must

persuade a court that “potential plaintiffs performed [non-managerial work as a primary duty] in

contravention of the facially valid nationwide polic[y].” Smith, 156 Fed. Cl. at 480 (quoting Mike v.

Safeco Ins. Co. of Am., 274 F. Supp. 2d 216, 220-21 (D. Conn. 2003); Stevens, 2012 WL 13098466, at *2

(stating that “a de facto [illegal] policy is demonstrated through a showing of the illegal application of a

common legal policy – i.e. that employees nationwide who, through classified as exempt, nevertheless

performed primarily non-exempt work.”). Finally, at step one, “the court does not resolve factual

disputes or make credibility determinations.” Gayle, 85 Fed. Cl. at 79; Whalen v. United States, 85 Fed.

Cl. 380 (2009) (“[t]he court does not resolve factual disputes, decide substantive issues going to the

ultimate merits, or make credibility determinations at [step one].”)

        B. Ms. Smith Has Failed To Submit Sufficient Evidence Of A Nationwide “Violation Of Law”

            1. Ms. Smith Attempts To Establish A Violation Of The FLSA Based Upon Treatment By
               Her Managers, Not VCS’s Corporate Policies And Procedures

        Ms. Smith has not met her burden to establish that VCS has committed a nationwide violation of

law. Ms. Smith’s fails to meet the established criteria for a collective action because her complaint and

motion fail to articulate whether she is challenging that VCS has an official unlawful policy or is

attempting to establish that there is a de facto unlawful policy that contravenes the ACC job description.

The thrust of Ms. Smith’s argument is that she is similarly situated to ACCs throughout the VCS because

(1) ACCs were classified as exempt from the FLSA; (2) ACCs had a common job description; (3) VCS

used a common job posting for ACCs nationwide; and (4) ACCs were subject to the same payscale. Pl.




                                                      25
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 33 of 57




Mot. 11-22; 26-29. These facts do not establish that all ACCs are similarly situated with regard to the

duties that they perform and whether they are properly classified as FLSA exempt.

        Ms. Smith fails to offer any evidence or argument suggesting that VCS’s official policies with

respect to ACCs are unlawful. Nor could she. The ACC job description opens by stating plainly that an

ACC’s primary responsibility is to “manage the day-to-day operations” of the retail/food/vending store

operations. ACC PD, ECF No. 25-1 at 99-102; see Murray v. Stuckey’s Inc., 939 F.2d 614, 618 (8th Cir.

1991) (the court in interpreting Department of Labor regulation 29 C.F.R. § 541.103 concluded that “the

person ‘in charge’ of a store [or department] has management as his primary duty even though [they]

spend [] the majority of [their] time on [non-management tasks that would be a primary duty for hourly

employees] and make[] few significant decisions.”)

        Additionally, the ACC job description further lists almost exclusively managerial tasks such as

“directs the work of two or more employees”; “[i]nitiates cost-saving measures designed to enhance

operational efficiency”; “appraise employees’ productivity and efficiency for the purpose of

recommending promotions”; plan the work [] determine the techniques to be used[,] apportion the work

among employees [,] and will make recommendations on hiring and firing.” ACC PD, ECF no. 25-1 at

99-102; Smith 156 Fed. Cl. at 481 (a common job description and pay plan cannot support the conclusion

that defendant violated the FLSA when the policies are facially lawful when applied to an employee

performing management tasks as a primary duty as detailed in the ACC job description); see Smith v.

Heartland Auto. Servs., Inc., 404 F. Supp. 2d 1144, 1151 (D. Minn. 2005) (concluding that use of the

common job description is not appropriate evidence for the misclassification allegation based on actual

workplace tasks because the job description set out mainly managerial tasks); see also Saleen v. Waste

Mgmt., Inc., 649 F. Supp. 2d 937, 940-41 (D. Minn. 2009) (denying conditional certification based upon




                                                     26
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 34 of 57




employer’s policy of automatically deducting for meal breaks, when plaintiffs’ theory of liability was

premised upon managers’ non-compliance with that otherwise lawful policy).

        Similarly, Ms. Smith’s references to VCS’s policies and procedures do not establish a violation of

law because these documents do not manifest any unlawfulness on their face and do not direct the

performance of non-management tasks as a primary duty. Specifically, the policies and procedures refer

to managerial tasks and leadership strategies. ACC PD, ECF No. 25-1 at 99-102. They also discuss and

describe essential operational information of which a manager must be aware in order to effectively run

the Canteen. Id. Nothing about the policies and procedures or its contents suggests that ACCs perform

non-management tasks as a primary duty. In fact, the policies and procedures include a summary of

management responsibilities, all of which are of a managerial nature. ECF No. 25-2, Ex. 13 p. 5-28. The

simple fact that a company trains and provides policies and guidelines to new managers surely cannot

compromise their exempt status. Indeed, without knowing company policies and procedures, a manager

would be hard-pressed to implement and to enforce them. See 5 C.F.R. § 551.104 (management tasks as

a primary duty include implementation of management policies and operating practices).

        Conversely, if Ms. Smith is attempting to claim that she and other ACCs worked under a de facto

unlawful policy because despite VCS’s corporate policies and procedures her CC ordered her to perform

primarily non-managerial work, then her argument fails in that regard as well. Specifically, Ms. Smith

and the declarants argue that, despite what VCS expects and intends for its ACCs to do, their actual

duties–as required by their CC and regional manager–place them outside the executive exemption. Ms.

Smith’s argument reveals that there is no common thread to tie together a nationwide claim of ACCs

because proof of liability will not turn on VCS’s policies or procedures applicable to the entire proposed

collective, but rather, on evidence of what each potential plaintiff does on a daily basis as required by his

or her CC/regional manager that is different than what is contained in the position description as a



                                                     27
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 35 of 57




primary duty. See Smith, 156 Fed. Cl. at 483 (a de facto FLSA violation requires an individualized

inquiry into the proportion of managerial work each plaintiff performed).

        In Holt v. Rite Aid Corp., the plaintiffs sought certification of a collective action consisting of

store managers and assistant managers, alleging that they were similarly situated in that they were

misclassified as exempt. 33 F.Supp. 2d 1265, 1270 (M.D. Ala. 2004). Like Ms. Smith and the

declarants, the plaintiffs claimed that, although their job descriptions contained exempt duties, they spent

the majority of their time on nonexempt duties, such as running the cash register or cleaning and

sanitation. Id. at 1271; See Pl. Decl. ¶ 3. In denying certification, the court explained:

             [T]his case is not a case where janitors are being classified as exempt
             executives. Evidence before the court of the formal, written job descriptions of
             store managers and assistant store managers contains many managerial tasks. It
             is only once the [p]lantiffs’ testimony as to the degree to which other tasks are
             performed that the application of the exemption becomes questionable.
             Therefore, . . . because the application of the executive exemption for merits
             purposes will require a fact intensive determination, it appears to the court that
             the similarly situated inquiry also requires an examination of day-to-day tasks.

Id.) (emphasis added). Similarly, in Mike v. Safeco Ins. Co. of Am., another misclassification case, the

court denied certification of a collective action, concluding that a determination as to whether managers

performed non-management tasks as a primary duty would require an individualized, fact-intensive

analysis of that manager’s job duties and responsibilities, i.e., an ad hoc inquiry for each proposed

plaintiff. 274 F. Supp. 2d 216, 220-21 (D. Conn. 2003). Also, this Court concluded that “a shared

common job description could ‘not provide the necessary common thread’ because plaintiff disavowed

the job description.” Smith v. United States, 156 Fed. Cl. at 481 (citing Mike, 274 F. Supp. 2d at 221.).

        In this case, other ACCs employed in other canteens around the country have testified that they

performed their managerial duties in a manner consistent with VCS’s expectations. ECF No. 26, Exs. 2-

10. Ms. Smith and the declarants cannot establish that VCS violated the FLSA on a nationwide basis by

pointing to “VCS operating procedures and policies”, and by relying upon personal declarations


                                                      28
          Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 36 of 57




regarding their own individual experiences to prove a claim for nationwide certification of a collective

action.

          In any event, Ms. Smith, and the declarants’ focus on the agency’s operational policies and their

alleged performance of non-managerial tasks, while they performed managerial duties activities, misses

the point. As this Court instructed with its initial opinion in this case, there is a critical distinction between

a corporate policy that actively precludes ACCs from managing while instructing them only to perform

non-management tasks as a primary duty, and an individual canteen chief instructing an ACC to manage

while completing non-management tasks as a primary duty. Smith, 156 Fed. Cl. at 483. Indeed, Ms.

Smith still fails to explain how the agency’s corporate polices relate to her claim that ACCs primarily

perform non-management tasks as a primary duty in contravention of the ACC job description. See id.

Conversely, Ms. Smith, and the declarants, affirmatively state that they routinely conduct management

activities and fail to provide any information that there was a policy that required them to conduct non-

managerial tasks as a primary duty. ECF No. 55-1 at 68-102. In other words, Ms. Smith and the

declarants are unable to identify a single policy that required them to not manage as a primary duty so that

they can devote their time to performing non-management tasks as a primary duty.

             2. The Declarations Of The 12 Declarants Amplifies The Absence Of A Uniform Agency
               Policy That Would Render the ACC Position Non-exempt

          Determining whether an assistant manager is exempt from the FLSA’s overtime requirements is

inherently a highly fact intensive inquiry that must be made on a case-by-case basis in light of the totality

of the circumstances. See 5 C.F.R. § 551.205(a); see also 29 C.F.R. § 541.700(c) (an assistant manager

“may have management as their primary duty even if [they] spend more than 50 percent of the time

performing non-exempt work such as running the cash register[]” and nonetheless be properly classified

as exempt.); 29 C.F.R. § 541.106(b) (“An assistant manager can supervise employees and serve

customers at the same time without losing the exemption.”); 29 C.F.R. § 106(a) (When an employee


                                                       29
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 37 of 57




performs concurrent duties, “[w]hether an employee meets the requirements” of the exemption is

determined on a case-by-case basis.); see also Pay Administration Under the Federal Labor Standards

Act, 72 FR 52753-01, 52757 (factors determine whether an employee qualifies for the executive

exemption). The record evidence confirms as much, revealing vast disparities in the experiences of the

declarants with no prevailing uniformity that would support “similarly situated” and conditional

certification. See ECF Nos. 25-3; 55-1 at 68-102; cf ECF No. 26 Exs. 1-9. The declarants’ main

contention is that they allegedly spent a significant percentage of their time on non-management tasks that

are the primary duty of non-management employees, such as customer service. ECF No. 55-1 at 68-102.

        However, as explained above, in a retail setting, an employer may properly classify as exempt a

manager who spends a majority of their time assisting customers and performing other management tasks

while performing tasks that are the primary duty of non-management employees, such as “running the

cash register,” as long as they are also responsible for exercising discretion and independent judgment

such as supervising employees an ordering merchandise. 72 FR 52753-01, 52759. In fact, courts have

consistently held that citing to a high percentage of customer-focused and other tasks has little relevance

in the retail management setting when such duties are often performed simultaneously with supervisory

duties. “While some employees covered by the executive exemption may not perform each and every

activity listed under ‘management’; there is an expectation that they will perform the function listed under

5 C.F.R. 551.205(a). 72 FR 52753-01, 52757; see Thomas v. Speedway SuperAmerica, LLC, 506 F.3d

496, 504 (6th Cir. 2007) (“More importantly, however, the time factor is less momentous, and might even

be somewhat misleading, where the employee’s management and non-management functions are not

clearly severable . . . where an employee manages while at the same time performing non-exempt tasks

normally assigned to subordinate employees [] we refuse to give undue weight to the time factor of the

‘primary duty’ inquiry” (internal citations, quotations and alterations omitted)); Donovan, 675 F.2d at 521



                                                     30
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 38 of 57




(because, among other things, “much of the oversight of the operation can be carried out simultaneously

with the performance of non-exempt work, we believe the principal or most important work of these

employees is managerial”).

        In such cases–especially in the retail setting–courts focus on whether the job at issue is primarily

one of managing. See, e.g., Donovan, 675 F.2d at 521; Scott v. SSP Am. Inc., 2011 WL 1204406, *6; see

also 5 C.F.R. § 551.104. To answer this question, Federal courts examine evidence concerning, for

example, the assistant manager’s role in (1) delegating work, (2) training employees, (3) interviewing job

applicants, (4) making personnel decisions, (5) discipling employees, (6) creating work schedules, and (7)

making business decisions. 5 C.F.R. § 551.104; 551.205 (the executive exemption applies when

“supervision cuts across product and service lines in terms of assessing activities and advising top

management on business operations [even] when the supervisor or leader does not have the operational

authority over all employees.) Defendant has produced a robust record concerning the ACC prescribed

duties; whereas, the declarants have produced sparse information regarding their alleged responsibilities

and provide little assistance in determining whether they are similarly situated to each other or to Ms.

Smith. See Exs. ECF No. 55-1.

        Further, the information provided indicates that ACCs are performing management activities as a

primary duty, exactly as prescribed in their job descriptions. Thus, when read together with defendant’s

ACC declarations, ECF No. 26, Exs. 1-9, the declarants’ allegations demonstrate a lack of a uniform

policy negating their primary management duty. Indeed, some of the management examples include (1)

Cannary participates in the hiring process, ECF No. 55-1, ¶ 7; (2) Quintero participates in national call

meetings, ECF No. 55-1 at 93, ¶ 8; (3) Webb manages all operational concepts and participates in

national call meetings, ECF No. 55-1 at 97-98, ¶¶ 4, 8; (4) McCague trains teams on food

safety/sanitation and assists with the change of canteen layout, and mitigates loss/controlled costs, Ex. 1 at



                                                     31
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 39 of 57




DOJ002, DOJ010, DOJ016; and (5) Davis: his evaluation included a review on the followiong

management accomplishments:

             Kurt, thank you for your leadership this past year. You have had to rebuild your
             entire staff, without any help- hats off to you. Thanks for your leadership skills of
             being calm, taking one job on at a time and teaching them well. You take the time to
             listen toyour customers’ needs and to help in any way possible. Thank you for
             teaching all your staff to be customer focused first and foremost. By taking time to
             listen and being engaged with the customer, they will continue to shop with us.

             Empowering you[r] team is one of the most important aspects of what we do. By
             doing this they buy into what we are trying to do from CO down- Thank You. You
             have built your power wheel in Fayetteville, continue to work it. Dan Fields is a big
             advocate of the canteen, keep that relationship going in the right direction. You have
             also built great relations with just about all the service chiefs in your MC- this is
             huge. Thanks for the big up in your AES scores in Data Sharing, you jumped up
             10%. In Usage you stay the same. Continue to talk about Data Sharing and Usage in
             you daily huddle meetings. With rebuilding a team comes training, and you have
             done a great job in food and retail. Thank you for following up and customer
             service, receiving and sanitation, by far the three most import components of a great
             operation. Thank you for understanding the cause and effect of the financials. With
             all that has happened in the last 6 months, my hat is off to you and your leadership
             style. Also, thanks for staying on top of all training for yourself. you are a continuous
             learner.

Ex. 2, DOJ039. When reviewing the duties raised by the declarants, and evaluated by VCS supervisory

personnel, the declarants cannot demonstrate an “identifiable factual nexus” that binds Ms. Smith and the

declarants together as victims of a nationwide policy that has them performing non-management tasks as

a primary duty. Thus, conditional certification should be denied. See Smith, 156 Fed. Cl. at 483 (“The

idiosyncratic nature of ACCs’ job duties would require this Court to analyze the individual experiences of

up to 600 employees at the decertification stage. This does not fit the court’s definition of efficient.”)

            3. Ms. Smith Fails To Provide Any Evidence That She Is Similarly Situated To More Than
              600 Other ACCs Throughout The United States And Puerto Rico

        Ms. Smith’s request for a nationwide collective fails because she relies on only 12 declarations as

a allegedly representative of the duties and responsibilities of more than 600 ACCs nationwide. Pl. Mot.

8-14. Courts have concluded that submission of declarations purportedly demonstrating defendant’s


                                                      32
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 40 of 57




unlawful unofficial policies, in only some of defendant’s many locations, is insufficient to show a de facto

nationwide policy of misclassification in violation of the FLSA. See, e.g., Meo v. Lane Bryant, Inc., No.

18-cv-6360 (JMA) (AKT), 2019 WL 5157024, at *10 (E.D.N.Y. Sept. 30, 2019) (denying conditional

certification of a nationwide collective when potential plaintiffs worked in or had knowledge of similarly

situated employees in defendant's stores in only twelve states though defendant operated 727 stores across

forty-seven states); Jibowu, 492 F. Supp. 3d 87, 125 (E.D.N.Y. 2020) (finding that the declarations of the

eight joined laintiffs were insufficient to show that they are, in fact, similarly situated to the potential

members of the proposed nationwide collective of more than 14,000 Target employees); Sharma v.

Burberry Ltd., 52 F. Supp. 3d 443, 460 (E.D.N.Y. 2014) (“Rather than rely on reasonable inferences,

plaintiffs must provide actual evidence of a factual nexus between their situation and the persons they

claim are similarly situated.” (internal quotations, alterations, and citation omitted)); see also Lin v.

Everyday Beauty Amore Inc., No. 18-cv-729 (BMC), 2018 WL 6492741, at *3 (E.D.N.Y. Dec. 10, 2018)

(finding that “when plaintiffs do not state any facts as to the existence of a common policy or practice of

underpayment at other store locations[,] a collective action should not include those stores ... where store

locations exist[ ] nationwide” (collecting cases)); Costello v. Kohl’s Illinois, Inc., No. 13-cv-1359 (GHW)

2014 WL 4377931, at *6 (S.D.N.Y. Sept. 24, 2014) (rejecting plaintiffs' argument that the fact that they

had presented evidence from assistant store managers in more than 3 states “mandated” conditional

certification, observing that “the probity of drawing ... an inference [of a common illegal policy or plan]

will turn in part on the number of plaintiffs from whom the Court has evidence compared to the size of

the pool of potential opt-in plaintiffs.”)

        Finally, because Ms. Smith’s and the declarants’ performance of management tasks as a primary

duty is directed by the alleged practices of their individual CCs, their local management team, their

anecdotal experiences are not represenative of hundreds of other ACCs working in other canteens of



                                                       33
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 41 of 57




varying sizes, with varying services and volume of customers and sales, and different CCs. CF ECF 26,

Ex. 1-9; see Smith, 156 Fed. Cl. at 480 (“A formal policy of classifying employees hired under the same

job title as exempt does not, on it own, provide the necessary evidence for certifying a collective action

under the FLSA.”). To that end, any misclassfication due to variation in unofficial de facto policies

implemented at an individual canteen weighs against conditional certifiation of a nationwide collective.

Id. at 481 (“Plaintiffs must show that they and other[s] were similarly situated with respect to the claim

that they were required to perfom non-managerial [tasks as a primary duty] in contravention of the formal

job description.” (emphasis added) (citing Jibowu, 492 F. Supp. 3d at 125)) ; see Ahmed v. T.J. Maxx

Crop, No. 10-cv-3609 (ADS) (ETB) 2013 WL 2649544 at *14 (E.D.N.Y. June 8, 2013).

              Thus, because ‘there may be vast differences in the practices of individual
              stores across the country,’ the Court finds that the Plaintiffs’ evidence is
              ‘extremely thin’ with respect to the existence of a nationwide de facto illegal
              policy so that conditional certification is simply not appropriate.

(quoting Guillen I, 750 F. Supp. 2d at 476–78)). Consequently, because Ms. Smith has argued that there

is substantial localized variation with respect to practices in defendant’s stores, and has addressed the

discretion afforded to local managers at those stores, she directly cuts against the need for a collective

group of plaintiffs because each individual situation will involve a detailed review of each ACC’s work

responsibilities.

             4. Dissimilar Employment Settings Within VCS Canteens Also Would Compel
               Individualized Inquiry

        ACC job duties differ on the most basic level: managerial assignment. Each canteen, outside of

having a CC, has a varying number of ACCs, and a varying number of assignments for an assigned ACC.

Thus, in some canteens, ACCs have unique responsibilities (Antczak Decl., ECF No. 26, Ex. 5, ¶ 10), and

in other stores, one ACC may have responsibility for multiple departments (Barrett Decl., Id., Ex. 3, ¶ 10),

have a primary and secondary responsibility (Reed Decl., Id., Ex. 4, ¶ 10), or no ACC may be assigned to

the Canteen at all (Mark Houtchen Declaration (Houtchen Decl.), Id., Ex. 12, ¶ 8. Thus, based on area of

                                                      34
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 42 of 57




assignment, ACCs will have varying degrees of responsibility with regard to hourly worker supervision,

administrative duties, and operational responsibility of the facility.

        Even ACCs with similar assignments have different day-to-day duties based on the canteen in

which they work and direction from the CC. Contrary to Indergit v. Rite Aid Crop, No. 08 Civ. 9361

(PGG), 08 Civ. 11364 (PGG), 2010 U.S. Dist. LEXIS 60202 (S.D.N.Y. June 15, 2010), with store

operations standardized and planograms (same sized stores) were used, VCS does not use “planograms”

and Canteens are different from each other in many ways. Leahy Decl., Ex. 1, ¶ 21. At VCS, ACCs are

expected to act as merchants who use their canteen specific knowledge of their customers and employees

to manage key departments to drive revenue for each Canteen. Id.

        For example, Canteen sales volume significantly affects operations, and thus, affects an ACC’s

daily routine. The greater a Canteen’s revenue, the higher the canteen’s labor budget and the more hourly

associate hours available. Leahy Decl., ECF No. 26, Ex. 1, ¶ 25. As a result, canteens with high sales

volume have far more hourly employees to supervise and to direct. (Antczak Decl., ECF No. 26, Ex. 2,

¶¶ 6-7 ($2,500,000 annual revenue and approximately 17 hourly employees)); (Reed Decl., ECF No. 26,

Ex. 4, ¶¶ 6-7 ($7,220,320 annual revenue and 31 hourly employees)).

        Moreover, busier canteens with higher customer traffic and sales volume require more customer

service and inventory deliveries, which affect the amount of time ACCs can spend on other tasks. Each

ACC also supervises a different number of employees depending upon his or her particular

circumstances; for example, though both oversee retail, food, vending and administrative operations,

Cheryl Barrett supervises six hourly employees and Zenna Reed supervises 31 employees. Barrett Decl.,

Id., Ex. 3, ¶¶ 7, 10; Reed Decl., Id., Ex. 4, ¶¶ 7, 10. The more hourly employees an ACC supervises, the

more time he or she must spend directing work, training, evaluating, coaching, and counseling. Leahy

Decl., Id., Ex. 1, ¶ 23.



                                                      35
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 43 of 57




        Other store-specific factors that affect ACC responsibilities include the personality and

management style of the CC. Each CC runs his or her store differently. Antczak Decl., Id., Ex. 5, ¶ 43

(meets with the CC on a daily basis); Spaulding Decl., Id., Ex. 8, at 4 (meets with the CC on a weekly

basis). Indeed, various ACCs attest that their store manager affords wide latitude to make managerial

decisions. Paino Decl., Id., Ex. 2, ¶¶ 39, 40, 42, 43 (responsible for monitoring Canteen sales/product

waste when making financial decision; solely responsible for product order; does not need CC approval to

order products); Barrett Decl., Id., Ex. 3, ¶¶ 33, 36, 39 (final authority for resolving customer complaints;

responsible for profit/loss of the Canteen; solely responsible for the ordering of all merchandise); Reed

Decl., Id., Ex. 4, ¶ 25 (ACCs responsible for hiring and selecting candidates for interview). Others have

CCs that do not delegate all managerial tasks listed in the position description. Reed Decl., Id., Ex. 4, ¶ 25

(ACCs conduct performance reviews for probationary employees); Antczak Decl., Id., Ex. 5, ¶ 32 (ACCs

do not conduct performance reviews for probationary employees).

        VCS’s potential defenses are individualized as well. As detailed above, ACCs have many

management responsibilities, all of which fall within the executive exemption. See, above, sections II

ACC Job Description and Training; III ACC Management Duties and Responsibilities. To the extent that

a particular ACC claims that he or she does not predominantly perform managerial tasks as a primary

duty, VCS might show that allegation is not accurate or that the ACC is not fulfilling job expectations,

which can be demonstrated through direct questions and reference to the particular ACC’s personnel

documents, such as job evaluations and counseling. For example, counseling and discipline of an ACC

may show that an ACC who performs tasks that are the primary duty of non-management employees is

not meeting the expectations of the job because management is the primary duty of the job. ACC PD

ECF No. 25-1, Ex. 6, p. 99-102; Leahy Decl., ECF 26, Ex.1, ¶ 18; 5 C.F.R. § 551.104. In Velazquez v.

Costco Wholesale Corp., the Ninth Circuit concluded:



                                                     36
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 44 of 57




              [a] court cannot determine whether an employee primarily engaged in exempt
             managerial duties based solely on the ‘number of hours that the employer,
             according to its job description or its estimate, claims the employee should be
             working.’ If it did ‘then the employer could make an employee exempt from
             overtime laws solely by fashioning an idealized job description that had little
             basis in reality’. Similarly, a court cannot solely rely on an employee's reported
             hours because the employee could then ‘evade a valid exemption’ through ‘his
             own substandard performance.’ To ‘steer clear of these two pitfalls’ the court
             should consider ‘the realistic requirements of the job.’ Nonetheless, ‘first and
             foremost’ the court should consider ‘how the employee actually spends his or
             her time.’

603 F. App'x 584, 586 (9th Cir. 2015) (citations omitted). Ms. Smith’s claims of performing allegedly

non-management tasks are not meaningful without the context required by the Office of Personnel

Management regulations. But neither Ms. Smith nor any of the declarants have offered any evidence

probative of the factors highlighted by the regulations.

        Rather, Ms. Smith and the declarants make generic claims that management was not their

“primary” duty and that her “primary duties” were “sanitation” and “operating the cash registers.” Pl.

Decl. ECF No. 25-3, ¶ 3; ECF 55-1 at 68-102. However, these statements are unhelpful to the analysis.

They leave the relevant questions unanswered. For example, leaving aside the question of final authority,

if management was not Ms. Smith’s and the declarants’ primary duty, who was responsible for operations

at their individual canteen departments? Who prepared non-exempt staff’s annual performance

evaluations? Who prepared the work schedule? Who managed the budget? Who managed ordering and

inventory? Who trained newly-hired employees? Who initiated discipline of employees? Who made the

decision to hire employees? If an individual ACC did not have final authority, were their

recommendations with respect to hiring or discipline given consideration and weight? Finally, despite

claiming to have performed tasks that are the primary duty of non-management employees, did Ms.

Smith and the declarants have the authority to delegate such duties? All of these management tasks are

encompassed under the executive exemption. 5 C.F.R. § 541.10; see also Pay Administration Under the

FLSA, 72 FR 52753-01; 52758.
                                                     37
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 45 of 57




        Ms. Smith’s performance evaluation and the declarations of non-plaintiff ACCs strongly suggest

that the answers to these questions lead to the conclusion that Ms. Smith had authority over, or significant

input into, most of these responsibilities. Ms. Smith’s Progress Review ECF No. 26, Ex. 11; Ex. 1 at 2, 9,

17; Ex. 2 at 40. Further, as reflected in the non-plaintiff ACC declarations, each ACC had a different

experience, with a unique combination of authority, or lack of authority, which would require an

individualized, fact-intensive inquiry to resolve whether an individual ACC was subject to an unlawful de

facto policy.

        C. In The Absence Of A Common “Illegal” Plan Or Policy, Ms. Smith’s Proposed Collective
           Should Be Rejected

        The Supreme Court has identified the main benefit of a collective action as twofold: to give

plaintiffs the advantage of lower individual costs to vindicate rights through the pooling of resource; and

to allow for an efficient resolution in one proceeding of common issues of law and fact arising from the

same alleged activity. Hoffman-LaRoche v. Sperling, 493 U.S. 165, 170 (1989). The manageability of

Ms. Smith’s proposed collective, therefore, must be considered before determining whether notice should

be sent to ACCs at canteens other than to the Palo Alto/Menlo Park, California canteen. See Valte, 155

Fed. Cl. at 571 (a collective action cannot be managed “where trial does not lead to common answers to

common questions”); Servertson v. Phillips Beverage Co., 137 F.R.D. 264, 266 (D. Minn. 1991) (“as

matter of sound case management, a court should, before [authorizing notice] make a preliminary inquiry

as to whether a manageable class exists.”). These considerations do not support authorizing notice in this

case.

        Trying this matter as a proposed nationwide collective action would not result in efficient

resolution. Rather, adjudication of the proposed collective action would require the Court to inquire into

each plaintiff’s day-to-day circumstances and his or her relationship to the CC to determine his or her

exempt status, based on Ms. Smith’s own theory that the local CC’s management decisions create


                                                     38
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 46 of 57




unlawful policy. Pl. Mot. at 12-14; Smith, 156 Fed. Cl. at 483 (“The idiosyncratic nature of ACC job

duties would require the Court to analyze the individual experiences of up to 600 employees at the

decertification stage.”) Sheffield v. Onus Corp., 211 F.R.D. 411, 413 (D. Ore. 2002) (denying certification

when “each claim would require extensive consideration of individualized issues” and “would be mired

in particularized determinations of liability and damages, rather than collective consideration of common

questions of law and fact”). In other words, Ms. Smith has not identified common issues of fact that

would apply to all potential plaintiffs in the proposed collective. Further, Ms. Smith’s testimony

contradicts that of other ACCs. ECF 26, Exs. 2-10. If the parties must establish a personal record

through cross-examination for each proposed claimant, based upon his or her perception of his/her role

contrasted with management’s expectations, the case and the factual and legal issues raised simply cannot

be managed collectively.

        D. Judicial Authority Does Not Support Ms. Smith’s Request For A Collective Action

            1. Waggoner v. U.S. Bancorp, 110 F. Supp. 3d 759 (N.D. Ohio 2015)

        Ms. Smith has cited no legal authority to support her broad request for judicial intervention.

Relying on Waggoner v. U.S. Bancorp, 110 F. Supp. 3d 759 (N.D. Ohio 2015), Ms. Smith contends that

in that case a nationwide collective was “based on the declarations of five plaintiffs who worked in three

different states, as well as job postings to demonstrate that plaintiffs and potential opt-in plaintiffs were

similarly situated.”) Pl. Mot. at 19. However, the pertinent facts in Waggoner are vastly different the in

this case. First, the plaintiffs in Waggoner alleged that their “primary duties” were to complete teller

transactions, wait on customers, walk the isles of the grocery store to promote defendant’s products and

services, perform routine audits, and that these tasks were uniform in all corporate locations, and

retraining was not necessary when transferred to other corporate locations. Id. at 768. On the other hand,

Ms. Smith alleges that (1) she was responsible for all of the operations at the Palo Alto canteen, ECF 26,

Ex. 11 at 104; (2) each declarant, including Ms. Smith, alleges that management comprised at least ten

                                                      39
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 47 of 57




percent to thirty percent of their workday; and (3) each canteen chief, not the VCS central office,

determined the day-to-day workload and delegation of management activities for each individual ACC.

Thus, the Waggoner case fully supports defendant’s explanation that Ms. Smith’s case should not be

certified as a collective action because she has not made a modest showing that there was a de facto

uniform policy that had ACCs performing non-management tasks as a primary duty.

            2. Ms. Smith Reliance On Off-The-Clock Cases Does Not Support Conditional Certification
              Of A Collective

        Ms. Smith’s reliance on off-the-clock cases is misplaced because that theory of the case does not

involve disavowing the job description, as Ms. Smith does. Specifically, in off-the-clock claims, there

may be a common policy that ties the plaintiffs together, for example, a policy to not pay for overtime for

an alleged illegal reason. See Crosby, 348 F.Supp. 3d at 748 (non-exempt employees were eligible for

overtime and were being tasked with the performance of duties prior to and after clocking in and out of

their shift. Plaintiffs did not disavow the position description, which permitted the payment of overtime

and were unified by common theories of defendant’s statutory violation). Thus, for judicial economy,

courts grant conditional certification in order to efficiently adjudicate common statutory violations. Id.

        Ms. Smith’s claim is unlike any off-the-clock matters because her theory of the case involves

alleging that VCS’s job description is lawful, but the manner in which it is implemented nationwide

varies under the authority of individual CCs. Pl. Compl. ECF No. 1 ¶ 22-24; Pl. Mot. at 12-14. Thus,

Ms. Smith admits that there is not a “common nationwide policy” that ties together ACCs as a “similarly

situated” group, and whether VCS improperly classified ACCs would require a plaintiff-by-plaintiff

inquiry because she alleges that individual CCs are responsible for violating the FLSA; not the VCS as a

whole or its central management staff. Id.; See [Case name], 145 Fed. Cl. 446, 451 (2019) (generally,

courts do not infer that individuals at one location are similarly situated to individuals elsewhere without




                                                     40
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 48 of 57




specific evidence of consistency.) Consequently, Ms. Smith’s reliance on off-the-clock cases does not

support her request for conditional certification.

            3. Ms. Smith’s Reliance On Misclassification Cases Is Misplaced Because She And The
              Declarants Have Dissimilar Experiences And Exercise Significant Management Authority

                 (a)   Pendlebury v. Starbucks Coffee Co., 2005 WL 84500 (S.D. Fla. Jan. 3, 2005)

        The court in Pendlebury granted conditional certification because plaintiffs alleged (1) that their

management duties were relatively unimportant in comparison with the performance of non-management

tasks; (2) they rarely exercised discretionary authority; and (3) they did not customarily and regularly

supervise two or more full-time employees. Pl. Mot. at 19; Pendlebury, 2005 WL 84500 *1 (S.D. Fla.

Jan. 3, 2005). Ms. Smith’s own performance evaluation discusses her management of the entire food and

retail departments in the Palo Alto canteen before managing the Menlo Park canteen. Pl. Performance

Review ECF No. 26, Ex. 11 at 103-104. Undoubtably, Ms. Smith had important management duties,

routinely exercised discretionary authority, and supervised staff. Id. Many of the declarants had a similar

experience. Specifically, each declarant spends between 10 percent and 30 percent of the daily tasking

exercising discretionary management authority. ECF 55-1 at 68-102. Further, in the case of declarants

Cannary, Webb, McCague, and Davis, they managed operational concepts, ECF No. 55-1, at 97-98;

participated in national call meetings, ECF 55-1 at 93; had a management role in the hiring of employees

who perform non-managerial functions as a primary duty, ECF 55-1 at 73; were responsible for training

on food safety/sanitization, assisting with the design of floorplans and supervising non-exempt

employees, Id. at 97-98, ¶¶ 4, 8; trained teams on food safety/sanitation and assists with the change of

canteen layout, and oversaw the mitigation of economic losses, Ex. 1 at DOJ002, DOJ010, DOJ016; and

built employment teams, Ex. DOJ039-DOJ040. Thus, Ms. Smith’s reliance on Pendlebury is misplaced.

                 (b)     Meyer v. Panera Bread Co., 344 F. Supp. 3d 193, 201 (D.D.C. 2018)




                                                     41
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 49 of 57




        Likewise, Meyer is unhelpful to Ms. Smith’s cause because although it is a misclassification case,

the corporate headquarters exerted significant control over the operations of the restaurant. Meyer, 344 F.

Supp. 3d at 203. That is not the case with VCS canteens, where the CC exercised significant control over

the operations of the canteen. Pl. Mot. at 12-14; Tober Decl. 95:24-96:6 (the CC is responsible for all

aspects of the canteen and any failure to properly manage the canteen may result in a demotion due to

unproductivity.) Next, the plaintiffs in Meyer linked the performance of non-management duties to a

corporate policy of strictly controlling labor costs. Id. Neither Ms. Smith nor the declarants have linked

any kind of national policy with a reason why they allege that they perform non-management tasks as a

primary duty. See Pl. Compl., ECF No. 1, generally; Pl. Motion, generally.

        Finally, in Meyer, the company converted the assistant manager position from exempt to non-

exempt, which could lead to a finding that when the assistant manager position was exempt, its primary

duties were non-managerial in nature. In this case, the ACC position has not been classified as non-

exempt in three years preceding the filing of Ms. Smith’s complaint, the position requires ACCs to

perform managerial tasks as a primary duty, and the position description fits squarely within the FLSA’s

executive exemption. Thus, Meyer, does not assist Ms. Smith with establishing a collective of ACCs.

                 (c) Stevens v. HMSHost Corp., No. 10-cv-3571, 2012 WL 13098466, at *3 (E.D.N.Y.
                     2012)

        Similar to Meyers, Stevens is a misclassification case, but it does not assist Ms. Smith with

establishing a collective because the plaintiffs in Stevens stated that, in addition to performing non-

management tasks for a majority of their workday, none of them had the authority to train, to hire, to

discipline or to promote employees. Stevens, No. 10-cv-3571, 2012 WL 13098466, at *3 (E.D.N.Y.

2012). In this case,, declarants Cannary, Webb, McCague, and Davis, along with defendant’s declarants,

acknowledge that they have the authority to train, to hire, to discipline or to promote employees. ECF

No. 55-1 at 73, 93, 97-98; Ex. 1 DOJ002, DOJ010, DOJ016; Ex. 2 DOJ039-DOJ040. Additionally, Ms.

                                                     42
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 50 of 57




Smith was responsible for resolving conflicts (for example, discipline) with subordinate employees. ECF

No. 26, Ex. 11 at 104. Accordingly, Stevens does not assist the Court with determining whether Ms.

Smith has made the requisite showing required to certify a collective of ACCs.

            4. Denial Of Overtime Pay Does Not Qualify As Support For A Nationwide Collective
               Action Because Ms. Smith Fails to Provide Any Evidence Of The Existence Of A
               Nationwide Policy Affecting All Members Of The Collective

        Ms. Smith argues that by simply alleging that she was denied overtime pay due to an alleged

misclassification is enough to demonstrate that there was a common policy for purposes of conditional

certification. She cites Barry v. United States, 117 Fed. Cl. 518, 522 (2014), and Doe No. 1 v. United

States, 143 Fed. Cl. 113, 116 (2019), as authority. Pl. Mot. at 17. Ms. Smith is not correct. Numerous

courts have concluded that “[g]enerally, to certify a nationwide collective action in an FLSA exemption

case, a plaintiff must ultimately demonstrate a nationwide policy pursuant to which managers are

assigned duties that render the employer's exempt classification inappropriate.” Mason v. Lumber

Liquidators, Inc., No. 17-cv-4780 (MKB) (RLM), 2019 WL 2088609, at *8 (E.D.N.Y. May 13, 2019)

(internal quotation, citations, and alterations omitted); see also Korenblum, 195 F. Supp. 3d at 480

(“potential members [of a collective action] must be similarly situated with respect to the allegedly

unlawful policy or practice.” (citation omitted)). “[T]he mere classification of a group of employees—

even a large or nationwide group—as exempt under the FLSA is not by itself sufficient to constitute the

necessary evidence of a common policy, plan, or practice that renders all putative class members as

‘similarly situated’ for § 216(b) purposes.” Brown v. Barnes & Noble, Inc. (“Brown I”), 252 F. Supp. 3d

255, 262 (S.D.N.Y. 2017) (collecting cases); see also McDermott v. Fed. Sav. Bank, 14-cv-6657 (JMA)

(GRB) 2018 WL 1865916, at *4 (E.D.N.Y. Apr. 18, 2018) (finding that plaintiffs “failed to identify any

such policy other than their classification as exempt, which is insufficient to show that they are similarly

situated” (citing Brown I, 252 F.Supp. 3d at 262)).



                                                      43
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 51 of 57




        Thus, when determining whether a named plaintiff is similarly situated to any potetntial plaintiff

“courts generally require ‘that there be a factual nexus between the claims of the named plaintiff and

those who have chosen or might potentially choose to opt into [join] the action.’” Jibowu v. Target Corp.,

492 F. Supp. 3d at 122 (citations omitted). Ms. Smith has not done that. Therefore, Ms. Smith’s

argument that simply alleging that she served as an ACC, ACCs are FLSA-Exempt, and were

misclassified as exempt, and thus are similarly situated because of that fact, is misplaced.

II.     THE FORMS OF NOTICE AND CONSENT PROPOSED BY PLAINTIFF IS IMPROPER
        AND INADEQUATE

        For the reasons stated above, conditional certification of a collective is not appropriate. If,

however, the Court were inclined to grant conditional certification, Ms. Smith’s proposed nationwide

class of ACCs is inappropriate because the proposed methodology for facilitating notice and request for

confidential information about potential class members is improper, unnecessary and overreaching.

        A. Notice Should Be Limited To The Menlo Park And Palo Alto Canteens

        Ms. Smith argues that ACCs are subject to an illegal de facto exemption policy. However, as

discussed above, the policy is facially lawful, and as evidenced by the ACC job summaries, VCS expects

that ACCs to be engaged primarily in managerial tasks. ACC PD, ECF No. 25-1, Ex. at 99-102. Ms.

Smith offers her declaration testimony that, despite her job description, the bulk of her time was devoted

to non-managerial work. However, her declaration reflects only her personal experience in one Canteen

with two locations, and her experience cannot be imputed to other ACCs at other Canteens, particularly

those in other regions of the country. See, Heitzenrater v. Officemax, Inc., No. 12-cv-900S, 2014

WL448502, at *6 (W.D.N.Y. Feb. 4, 2014).

        Although Ms. Smith contends that unnamed ACCs at other canteen locations had similar

experiences and presents 12 declarations, that evidence does not establish that those ACCs in other

Canteens operated under an alleged illegal nationwide de facto policy. As Ms. Smith and the declarants


                                                     44
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 52 of 57




admit in their declarations, their employment experiences are merely anecdotal and individualized

situations at individual canteens where the CC directed each ACC’s activities with no specific support for

the allegations of a violation, having not provided any names or dates of an alleged FLSA violation. Pl.

Mot. at 12-14; ECF 55-1 at 69-102. Thus, there is no common policy to tie the proposed collective

together. See Eng-Hatcher v. Sprint Nextel, Corp., 07-cv-7350 (BSJ)2009 U.S. Dist. LEXIS 127262, at

*13 n.5 (S.D.N.Y. Nov. 13, 2009) (discounting “general statements” to support claim that other

employees are similarly situated to the plaintiff).

        A court may also limit collective size when it has concerns about manageability or judicial

efficiency. Ms. Smith’s theory of liability is premised on her contention that her CC, and the CCs that

supervised the declarants, deviated from VCS’s written expectation that ACC’s perform managerial tasks

as their primary duty. As a result, a collective action would necessarily involve individualized inquiries

into each ACC’s daily work activities as compared to VCS’s written expectations. This would not

promote judicial efficiency and, in fact, would undermine the very purpose of a collective action.

Hoffman-LaRoche, 493 U.S. at 170 (requirement that proposed class members be “similarly situated”

ensures the “efficient resolution of common issues of law and fact”).

        B. Ms. Smith’s Request For Information Other Than Potential Collective Members’ Last
           Known Addresses Is Overbroad And Unnecessary

        Ms. Smith requests that VCS produce “names, last known addresses, and job titles” of all

potential plaintiffs employed at VCS anywhere in the United States at anytime within the applicable time

frame. Pl. Mot. at 22-23. Ms. Smith’s request is premature and overbroad because the Court has not

certified a nationwide collective. See Valte, 155 Fed. Cl. at 576 (the court declined to provide notice

“[b]ecause the evidence does not show that [p]laintiffs are similarly situated to the individuals who would

receive notice under [p]laintiffs’ proposal, it does not appear that notice to the individuals would advance

the case.); Hoffmann–La Roche, 493 U.S. at 170 (a court must be satisfied that conditionally certifying a


                                                      45
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 53 of 57




nationwide collective action, or even a regional collective action, will partake of the economy of scale

envisioned by the FLSA collective action procedure)

III.    EQUITABLE TOLLING DOES NOT APPLY

        A. Equitable Tolling Is Unavailable In FLSA Claims Against The Government

        Contrary to plaintiffs’ assertion, the FLSA’s statute of limitations cannot be equitably tolled in

cases against the United States. See Pl. Mot. at 19-22. When enacting the FLSA, Congress provided a

two-year statute of limitations within which aggrieved employees may sue their employers, or a three-

year limitations period for willful violations. 29 U.S.C. § 255(a). An action is commenced under section

255 on the date of filing, in the case of a named plaintiff, or otherwise on the date upon which an

individua l files with the court his or her written consent to join. Id. at § 256. When originally enacted, the

FLSA did not apply to the United States. Congress later extended the provisions of the FLSA to the

United States. Adams v. UnitedStates, 141 Fed. Cl. 428, 431 (2019) (citing 29 U.S.C. § 213(a)).

        In Soriano v. United States, 352 U.S. 270 (1957), the Supreme Court reiterated that “this Court

has long decided that limitation and conditions upon which the Government consents to be sued must be

strictly observed and exceptions thereto are not to be implied.” 352 U.S. at 276 (citing United States v.

Sherwood, 312 U.S. 584, 590-91 (1941)). As to the United States, the FLSA statute of limitations is an

element of the waiver of sovereign immunity provided when Congress extended the FLSA to the United

States. The statute of limitations, therefore, cannot

be tolled as against the United States.

        Neither the Court of Appeals for the Federal Circuit, nor the Supreme Court have equitably tolled

the two-year statute of limitations in FLSA cases. This Court has “acknowledged that the issue of whether

equitable tolling is generally permitted under the FLSA has not been resolved by either the Supreme

Court or the U.S. Court of Appeals for the Federal Circuit.” Jones v. United States, 88 Fed. Cl. 789, 791

(2009). However, this Court’s predecessor, the United States Claims Court, addressed the availability of
                                                        46
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 54 of 57




equitable tolling in FLSA cases in Doyle v. United States, 20 Cl. Ct. 495, 499-500 (1990), aff’d, 931 F.2d

1546 (Fed. Cir. 1991), cert. denied, 502 U.S. 1029 (1992), holding that equitable tolling is unavailable for

alleged willful violations of the FLSA because Congress has already provided an extension of

the limitations period for those violations. Id.; see 29 U.S.C. § 255 (willful violations are subject to a

three-year statute of limitations). That is exactly the relief Ms. Smith seeks. See Pl. Mot. at 19-22.

(requesting equitable tolling); id. ¶¶ 90, 199 (contending that the alleged FLSA violation was willful).

        Although there is a presumption that equitable tolling applies to statutes of limitations, that

presumption may be rebutted. John R. Sand & Gravel Co., 552 U.S. 130, 137 (2008). “Specific statutory

language, for example, can rebut the presumption by demonstrating Congress’ intent to the contrary.” Id.

at 137-38. And this would appear to apply regardless of whether the FLSA might be classified as

“jurisdictional.” The Supreme Court has set forth various factors that, if present, indicate that Congress

intended that equitable tolling should not apply. United States v. Brockamp, 519 U.S. 347, 350-52 (1997).

As the Federal Circuit has held, not all of these factors need be present, and even the presence of one

factor can be dispositive when determining whether tolling is available. Kirkendall v. Dep’t of Army, 479

F.3d 830, 837 (Fed. Cir. 2007). (citations omitted). Those factors include whether the statute of limitations

is repeated in the statute, whether it is stated in an “unusually emphatic” form, and whether the statute of

limitations already includes explicit exceptions. See Brockamp, 519 U.S. at 350-52. All three of these

factors indicating against equitable tolling are present in this case.

         First, the limitations period is repeated in section 255(a). See 29 U.S.C. § 255(a) (action “may be

commenced within two years after the cause of action accrued,” and “every such action shall be . . .

commenced within two years after the cause of action accrued”). Second, the limitations period is stated

in an unusually emphatic form. Id. (“every such action shall be forever barred unless commenced

within two years after the cause of action accrued.” (emphasis added)).



                                                       47
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 55 of 57




         Third, the FLSA sets forth an explicit exception to the general two-year rule: “every such action

shall be forever barred unless commenced within two years after the cause of action accrued, except that

a cause of action arising out of a willful violation may be commenced within three years after the cause

of action accrued.” Id. (emphasis added). Because section 255 “sets forth explicit exceptions to its basic

time limits, and those very specific exceptions do not include ‘equitable tolling,’” tolling would be

inconsistent with the intent of Congress that tolling not be permitted. Brockamp, 519 U.S. at 351-52; see

also Brice v. Sec’y of the Dep’t of Health and Human Servs., 240 F.3d 1367, 1373 (Fed. Cir. 2001)

(“When an Act includes specific exceptions to a limitations period, we are not inclined to create other

exceptions not specified by Congress.”); Doyle, 20 Cl. Ct. at 499-500 (holding that equitable tolling

does not apply to FLSA statute of limitations, in part, because of the exception for a willful violation).

Thus, the FLSA’s statute of limitations may not be equitably tolled for claims against the Government.

             B. Even If Equitable Tolling Could Apply, It Would Not Be Available For Ms. Smith’s
             FLSA Claim

        Regardless, equitable tolling is not available for Ms. Smith’s FLSA claim because there is no

evidence that she (1) filed a defective pleading during the statutory period; (2) was induced or tricked by

defendant’s misconduct into allowing the filing deadline to pass; or (3) her injury was “inherently

unknowable.” Smith, 156 Fed. Cl. at 478; see Martin v. United States, No. 13-CV-834C (PSC), 2015

WL 12791601, at *3 (Fed. Cl. Oct. 15, 2015) (quoting Christofferson v. United States, 64 Fed. Cl. 316,

326 (2005). Additionally, the equitable tolling of the statute of limitations should be applied “sparingly.”

Crawley, 145 Fed. Cl. at 451.

        As with Ms. Smith’s first motion, she does not contend that there was a defective pleading filed

during the statutory period, nor does she argue that her injury was “inherently unknowable.” Pl. Mot. at

19-22. Instead, it appears that Ms. Smith seeks equitable tolling based on the Court’s April 5, 2022 order

striking the inclusion of 12 opt-in plaintiffs into the conditionally certified action that is limited to the


                                                       48
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 56 of 57




Menlo Park/Palo Alto facility. Id. However, none of Ms. Smith’s arguments are persuasive as defendant

has not made an affirmative misrepresentation or otherwise committed any other affirmative misconduct

that resulted in lulling Ms. Smith into inaction. Accordingly, Ms. Smith’s request for equitable tolling of

the statute should be denied. Moreover, Ms. Smith is seeking equitable tolling for non-parties, that is,

potential plaintiffs. Because they are not parties to this action, they cannot request and advisory opinion

from the Court as to whether, if they were to join this action, their claims would be subject to equitable

tolling of the applicable statute of limitations.

IV.     THE COURT CORRECTLY STRUCK MS. SMITH’S FILING OF NOTICES OF CONSENT
        TO JOIN FOR POTENTIAL PLAINTIFFS

        Although certification is not required for potential plaintiffs to join a case, it is an essential case

management tool that permits the Court to manage a large volume of plaintiffs that allege a violation of a

common policy. Ms. Smith’s attempt to join additional plaintiffs into a conditionally certified case that is

the Court had limited to the Menlo Park/Palo Alto, California canteen, is an end-run on the entire

conditional certification process and contrary to the two-step approach. Ms. Smith cites Gonyer v. Vane

Line Bunkering, Inc., 32 F. Supp. 3d 514, 516-17 (S.D.N.Y. 2014), for the proposition that “a motion for

conditional certification need not be pending for a plaintiff to opt-in.” 32 F. Supp. 3d 514, 516-17

(S.D.N.Y. 2014). However, Gonyer did not contain a strict court order that barred other plaintiffs from

joining the case. In this matter, the Court issued a notice that prohibited the inclusion of additional

plaintiffs that were not employed at the Menlo Park/Palo Alto canteen for three years preceding the filing

of the complaint. Court Approved Notice (Notice), ECF No. 35; Hoffman-LaRoche, 493 U.S. at 171

(trial courts have wide discretion to manage collective actions.) Therefore, except for Richard Bartoni,

none of the other declarants were employed at the Menlo Park/Palo Alto canteen during the three years

preceding the filing of Ms. Smith’s complaint. Accordingly, in accordance with its prior Order, the Court

correctly struck the notices of consent forms.

                                                       49
         Case 1:19-cv-01348-CNL Document 66 Filed 07/29/22 Page 57 of 57




                                                CONCLUSION

        For these reasons, we respectfully request that the Court deny plaintiff’s motion for nationwide

conditional certification and issuance of nationwide notice. We do not oppose conditional certification of

a collective action including anyone who worked as an ACC at the Palo Alto and Menlo Park Canteens,

located in Palo Alto and Menlo Park, California within three years prior to the date of filing an

appropriate consent to join form. We oppose providing names, last known addresses, and job titles for all

ACCs that were employed nationwide for three years preceding the filing of Ms. Smith’s complaint on

September 4, 2019. Finally, we oppose any tolling of the statute of limitations because tolling is not

available and, if it were, Ms. Smith fails to satisfy the required tolling criteria.


                                                             Respectfully submitted,


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   July 29, 2022                                           Attorneys for Defendant
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